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13   States, McKinsey & Company, Inc. Washington D.C. and McKinsey Holdings, Inc.
14   [Additional counsel listed on signature page]
15
                                  UNITED STATES DISTRICT COURT
16                               NORTHERN DISTRICT OF CALIFORNIA

17
                                                     Case No. 3:21-md-2996-CRB (SK)
18   IN RE: MCKINSEY & CO., INC.
     NATIONAL PRESCRIPTION OPIATE                    MCKINSEY DEFENDANTS’ NOTICE OF
19                                                   MOTION AND MOTION TO DISMISS
     CONSULTANT LITIGATION
                                                     THE COMPLAINTS ON THE GROUNDS
20
     This document relates to:                       OF RES JUDICATA AND RELEASE;
21                                                   MEMORANDUM OF POINTS AND
     Master Complaint (Subdivision)                  AUTHORITIES IN SUPPORT
22   Master Complaint (School Districts)
     Individual Cases Listed in Appendix L           Date:        March 31, 2022
23                                                   Time:        10:00 a.m.
                                                     Courtroom:   Courtroom 6, 17th Floor
24                                                   Judge:       Hon. Charles R. Breyer
25

26

27

28

     NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINTS ON GROUNDS OF RES JUDICATA AND
                                                     RELEASE, CASE NO. 3:21-MD-02996-CRB
 1                               NOTICE OF MOTION AND MOTION

 2   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 3          PLEASE TAKE NOTICE that on March 31, 2022 at 10:00 a.m., or as soon thereafter as
 4   the matter may be heard, before the Honorable Charles R. Breyer, United States District Judge,
 5
     in Courtroom 6, 17th Floor of the San Francisco Courthouse, located at 450 Golden Gate Ave.,
 6
     San Francisco, California 94102, Defendants McKinsey & Company, Inc., McKinsey &
 7
     Company, Inc. United States, McKinsey & Company, Inc. Washington D.C., and McKinsey
 8

 9   Holdings, Inc. (collectively, “McKinsey”) will and do hereby move to dismiss Plaintiffs’ Master

10   Complaint (Subdivision), Master Complaint (School Districts) and all individual cases set forth

11   in Appendix L.
12
            This motion is made pursuant to Federal Rule of Civil Procedure 12(b)(6), and Pretrial
13
     Order No. 7, on the grounds that the Plaintiffs’ claims are barred by the doctrines of res judicata
14
     and release.
15
            This motion is based on this Notice of Motion and Motion, the supporting Memorandum
16

17   of Points and Authorities, the Declaration of David M. Cheifetz in Support of McKinsey

18   Defendants’ Motion to Dismiss the Complaints on the Grounds of Res Judicata and Release, the
19   Request for Judicial Notice, all other pleadings and papers filed herewith, and such other
20
     arguments and other materials as may be presented before the motion is taken under submission.
21
     DATED: December 23, 2021                           Respectfully submitted,
22
                                                        STROOCK & STROOCK & LAVAN LLP
23
                                                                    /s/ David M. Cheifetz
24                                                                    David M. Cheifetz
25                                                      Attorneys for Defendants McKinsey &
                                                        Company, Inc., McKinsey & Company, Inc.
26                                                      United States, McKinsey & Company, Inc.
                                                        Washington D.C. and McKinsey Holdings,
27
                                                        Inc.
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                              MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                        CASE NO. 3:21-MD-02996-CRB
 1                                       ISSUES TO BE DECIDED

 2           1.      Do the Consent Judgments executed by McKinsey with all 50 States, five
 3   territories and the District of Columbia, resolving all claims related to McKinsey’s opioid-related
 4
     work, bar, pursuant to the doctrine of res judicata, the claims of those States’ political
 5
     subdivisions, school districts, or similarly-situated plaintiffs, who now represent the same
 6
     interests as the States?
 7

 8           2.      Do the provisions in the Consent Judgments releasing McKinsey from any further

 9   liability related to its opioid-related work bar the claims of political subdivisions, school districts,

10   or similarly-situated plaintiffs, where those plaintiffs’ claims fall squarely within the scope of the
11
     releases and the States’ attorneys general had authority to release the claims?
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28                                                    – ix –


                       MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                 CASE NO. 3:21-MD-02996-CRB
 1   I.       INTRODUCTION

 2            Earlier this year, McKinsey & Company, Inc. United States (“McKinsey,” together with

 3   McKinsey & Company, Inc., McKinsey Holdings, Inc. and McKinsey & Company, Inc.
 4
     Washington D.C.) became the first defendant to reach a global settlement in the sprawling,
 5
     years-long opioid litigation—a highly complex web of litigation involving dozens of defendants
 6
     and thousands of lawsuits commenced in state and federal courts throughout the country.
 7
     McKinsey is a consulting company that offers advice and recommendations to clients—it is not a
 8

 9   manufacturer, distributor, retailer or prescriber of opioids. Nonetheless, in order to achieve

10   finality and avoid the inherent cost and risk of litigating in venues across the country, McKinsey
11   chose to be part of the solution to a complex public health crisis and entered into consent
12
     judgments with all 50 states, five territories and the District of Columbia (collectively, the
13
     “States”). To reach that settlement, McKinsey paid over $642 million and agreed to substantial
14
     injunctive relief while denying all liability. In exchange, the States released McKinsey from all
15

16   claims arising from its opioid-related work for pharmaceutical manufacturers and other clients.

17            Almost immediately after reaching this settlement, political subdivisions—cities, towns,

18   counties and school districts from the settling States represented by private counsel retained by
19
     local governments and prosecutor offices—began filing lawsuits that replicated (sometimes to
20
     the word) the allegations in the complaints filed by the States. To date, political subdivisions and
21
     school districts from 25 states (collectively, “Plaintiffs”) have sued McKinsey asserting the exact
22
     same factual allegations, seeking the same public relief and representing the same public interest
23

24   as the States.1 As a matter of law, sound public policy and efficient judicial administration,

25

26   1
      This motion seeks to dismiss all claims filed by political subdivisions, school districts and similarly-situated
     plaintiffs from the following 23 states (collectively, the “Subject States”): Alabama, California, Florida, Georgia,
27   Hawai’i, Illinois, Indiana, Kentucky, Louisiana, Maryland, Michigan, Mississippi, Missouri, New Mexico, New
     York, Ohio, Oklahoma, Pennsylvania, Tennessee, Texas, Utah, Virginia and Wisconsin. For reasons discussed
28


                          MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                    CASE NO. 3:21-MD-02996-CRB
 1   Plaintiffs’ claims—as well as any future claim by any political subdivision, school district or

 2   municipal body of any kind—should be dismissed in their entirety because they have already
 3
     been resolved.
 4
              Our system of federalism is comprised of two sovereign bodies of government—federal
 5
     and state. Political subdivisions, in contrast, are subordinate, administrative arms of the State
 6
     created as a matter of convenience to carry out state functions at the local level. Their residents
 7

 8   are state residents. As a result, courts have repeatedly held in numerous contexts that the State is

 9   the proper party to represent the public interest in matters affecting residents statewide and that,
10   when the State does so, duplicative lawsuits filed by political subdivisions are barred.
11
              Consistent with these principles, Plaintiffs’ claims are barred both by (1) the doctrine of
12
     res judicata and (2) the release provisions in the consent judgments executed by the States (the
13
     “Consent Judgments”).2 For purposes of res judicata, the Consent Judgments constitute “final
14

15   judgments on the merits” and Plaintiffs are asserting precisely the same “cause of action”

16   previously asserted by the States. Plaintiffs are also in privity with the States because they seek

17   to represent the same public interest already represented by the States. For the benefit of all their
18   residents, each of the States already sought and obtained, on a statewide basis, financial relief to
19
     remediate the opioid epidemic, including relief for health care, addiction treatment, law
20

21

22   below, this motion is not directed at lawsuits filed by political subdivisions or school districts within the states of
     Washington or West Virginia. Certain cases recently-filed by plaintiffs have not yet been transferred to this MDL
23   proceeding, though McKinsey expects the cases to be transferred to this proceeding shortly. This motion seeks
     dismissal of any cases filed in the Subject States, or any cases filed directly in this MDL proceeding that would be
24   remanded to a Subject State at the conclusion of pre-trial proceedings. McKinsey reserves the right to supplement
     this motion to seek dismissal of any other filed or transferred cases from the Subject States or from any other states
25   in which McKinsey can similarly demonstrate, as it does in this motion, that the claims are barred on the grounds of
     res judicata and/or release.
26
     2
      As directed by the Court, this motion seeks dismissal on the threshold issue of res judicata and release and
27   McKinsey hereby preserves and does not waive all other grounds for dismissal. See Pretrial Order No. 7: Initial
     Case Management Order ¶ 6, ECF No. 293.
28                                                            –2–


                          MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                    CASE NO. 3:21-MD-02996-CRB
 1   enforcement, criminal justice and child welfare. Nonetheless, Plaintiffs now attempt to obtain

 2   from McKinsey the same relief secured by the States (less their private attorneys’ fees) and many
 3
     attempt to do so on behalf of all political subdivisions throughout their state on a class basis. Res
 4
     judicata bars such duplicative litigation.
 5
             Plaintiffs’ claims are also barred for the separate and independent reason that the States
 6
     released the very claims Plaintiffs purport to bring. The attorney general is the chief law
 7

 8   enforcement officer of each state with the authority to control litigation raising statewide issues,

 9   including the power to release overlapping claims brought by political subdivisions. State law
10   uniformly authorizes each state’s attorney general to represent all state residents in litigation
11
     raising issues of statewide, public interest and this includes residents of a city, town, county or
12
     school district, who are, of course, the same state residents. This authority necessarily includes
13
     the power to settle and release claims in a manner that binds the State as a whole—including
14

15   each unit of local government—and the States properly exercised that authority here when they

16   entered into the Consent Judgments.

17           In addition to being legally barred by res judicata and the release, Plaintiffs’ duplicative
18   lawsuits should be rejected because they threaten to undermine the statutory and constitutional
19
     allocation of state power as well as the authority of state attorneys general. It is critical that a
20
     settlement with a state resolve duplicative claims by its political subdivisions where, as here,
21
     their interests so clearly overlap. Absent such assurance, defendants will be less likely to settle
22

23   with the State, driving up costs for all parties, hindering judicial efficiency and frustrating both

24   the State’s ability to resolve lawsuits of statewide interest and its responsibility to allocate funds

25   in a fair and efficient manner based upon the needs of all state residents. Indeed, the main
26
     defendants in the nationwide opioid litigation—manufacturers, distributors and pharmacies—
27

28                                                    –3–


                       MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                 CASE NO. 3:21-MD-02996-CRB
 1   have thus far failed to reach a final, global settlement for this precise reason, denying relief that

 2   state residents would have otherwise received long ago.
 3
             For all of these reasons, the Court should dismiss Plaintiffs’ claims in their entirety.
 4
     II.     BACKGROUND
 5
             A.       Procedural History
 6
                      1.       The States’ Claims
 7
             Between 2019 and 2021, a group of state attorneys general jointly conducted an
 8
     investigation into the consulting work McKinsey performed for various opioid manufacturers.
 9

10   McKinsey cooperated with the investigation and, in January 2021, entered into good-faith

11   settlement negotiations with an executive committee of ten attorneys general representing all

12   States. (See, e.g., Decl. of David M. Cheifetz in Supp. of Mot. to Dismiss (“Cheifetz Decl.”),
13
     Ex. B § I.E.)3 As later reflected in their individual complaints, the States uniformly alleged that
14
     McKinsey’s work for opioid manufacturers contributed to an increase in improper opioid
15
     prescriptions leading to increased healthcare, law enforcement and other costs throughout their
16

17   respective states. (See, e.g., id., Ex. A ¶¶ 5-7, 28.)

18           The States’ allegations (which were all nearly identical) focused in large part on sales and

19   marketing work McKinsey performed for Purdue Pharma LP (“Purdue”) between 2009 and
20   2014. Specifically, the States alleged that, in 2009, McKinsey helped Purdue develop messaging
21
     for OxyContin to “increase[e] ‘brand loyalty’” among prescribers. (Id., Ex. C ¶¶ 15-16.) The
22
     States alleged that, in 2013, McKinsey helped Purdue “turbocharge” OxyContin sales in
23
     connection with an engagement referred to as “Evolve 2 Excellence” or “E2E,” by (1) focusing
24

25
     3
       For the Court’s convenience, the relevant complaints and Consent Judgments filed by the States are attached as
26   exhibits to the Cheifetz Declaration. (See Cheifetz Decl., Exs. A - UU.) The Court may take judicial notice of these
     public records. See Lee v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001) (“A court may take judicial notice
27   of matters of public record without converting a motion to dismiss into a motion for summary judgment.”) (internal
     quotations and citations omitted).
28                                                          –4–


                           MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                     CASE NO. 3:21-MD-02996-CRB
 1   sales calls on high-volume prescribers, (2) limiting sales force discretion, (3) focusing Purdue’s

 2   messaging on increasing prescription dosage, and (4) suggesting an alternative distribution
 3
     model for delivering OxyContin to patients. (See, e.g., id. ¶¶ 17-18.) The States alleged that
 4
     McKinsey worked with Purdue’s Executive Oversight Team, Project Management Office and
 5
     Sackler board members to implement E2E. (See, e.g., id. ¶ 19.) The States also alleged that
 6
     McKinsey encouraged Purdue to have “senior level discussions” with a pharmacy chain that had
 7

 8   tightened its opioid dispensing guidelines, to work with patient advocacy groups to push back on

 9   hesitant prescribers and to consider using mail order pharmacies. (See, e.g., id. ¶ 21.)
10
             In addition to that sales and marketing work, the States alleged that, in 2008, McKinsey
11
     advised Purdue to “band together” with other manufacturers to push back against “strict
12
     treatment” by the FDA in connection with the development of an FDA-required risk evaluation
13
     and mitigation strategy. (E.g., id. ¶ 14.) The States also alleged that, in 2017, McKinsey
14

15   recommended that Purdue pay health insurers “rebates” for OxyContin-related overdoses in

16   order to increase coverage. (E.g., id. ¶ 24.) In addition to work for Purdue, the States alleged
17   that McKinsey also supported other opioid manufacturers, including Endo International, Johnson
18
     & Johnson and Mallinckrodt Pharmaceuticals, as well as government and non-profit clients.
19
     (See, e.g., id. ¶¶ 26-27.) Finally, the States alleged that there were “indications that individuals
20
     at McKinsey considered destroying or deleting documents related to their work for Purdue.”
21

22   (E.g., id. ¶ 28.)

23           According to their complaints, each of the States brought their claims on behalf of the

24   public in order to protect the health and well-being of state residents. (See, e.g., id., Ex. K ¶ 1
25   (“The People of the State of Illinois, by Kwame Raoul, Attorney General of the State of Illinois,
26
     believes this action to be in the public interest of the citizens of the State of Illinois . . . .”); id.,
27

28                                                       –5–


                         MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                   CASE NO. 3:21-MD-02996-CRB
 1   Ex. A ¶ 2 (“The [Alabama] Attorney General is authorized to bring this action in his parens

 2   patriae capacity, as the State has a quasi-sovereign interest in the health and well-being –
 3
     physically and economically – of its citizens . . . .”).) The States sought both injunctive and
 4
     monetary relief to recover “for increased costs in health care, child welfare, criminal justice, and
 5
     many other programs needed to abate the epidemic.” (E.g., id., Ex. C ¶ 30.)
 6
                       2.       McKinsey’s Global Settlement with the States
 7

 8           Although McKinsey’s work for opioid manufacturers was entirely lawful, in an effort to

 9   be part of the solution to a complex public health problem, McKinsey agreed to settle with the

10   States rather than simultaneously defend dozens of lawsuits around the country. (See, e.g., id.,
11
     Ex. H § I.F (“McKinsey has cooperated with the Signatory Attorney General’s . . . investigation
12
     and is willing to enter into this Judgment . . . in order to . . . avoid significant expense,
13
     inconvenience, and uncertainty.”); see also id. § I.H (“The Signatory Attorney General
14
     acknowledges McKinsey’s good faith and responsible corporate citizenship in reaching this
15

16   resolution.”).)

17           To reach a final global resolution with the States, McKinsey agreed to pay $642,385,164
18   to be used “to remediate the harms caused to the Settling States and their citizens by the opioid
19
     epidemic.” (Id. § V.A.) In addition, McKinsey agreed to substantial injunctive relief, including,
20
     but not limited to: (1) prohibiting consultants from accepting any work specifically related to the
21
     manufacture, marketing, sale or prescribing of opioids4; (2) developing a centralized document
22

23   storage system and extending its document retention period; (3) implementing a policy requiring

24   termination of any employee that engaged in intentional spoliation of evidence; and (4) revising

25

26   4
      Excluded from this prohibition was any of McKinsey’s substantial work for “health care providers, health plans,
     non-profit entities, governments, quasi-governmental agencies, or any other client that is not a pharmaceutical
27   manufacturer, for purposes of addressing a humanitarian health crisis, drug abuse prevention, treatment and
     mitigation or abatement efforts, or other public health benefit.” (E.g., Cheifetz Decl., Ex. D § III.B.)
28                                                          –6–


                            MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                      CASE NO. 3:21-MD-02996-CRB
 1   its client conflict policy to require written disclosures of any material conflicts to any state,

 2   county or municipal government clients. (See, e.g., id. § III.) In the interest of transparency,
 3
     McKinsey also agreed to publish a substantial volume of documents reflecting its work for
 4
     opioid manufacturers in an online publicly available repository. (See, e.g., id. § IV.)
 5
              In exchange for this substantial financial and injunctive relief, the States agreed to release
 6
     McKinsey from “all claims the Signatory Attorney General is authorized by law to bring arising
 7

 8   from or related to the Covered Conduct.”5 (E.g., id. § VII.A.) The definition of “Covered

 9   Conduct” broadly included all of McKinsey’s prior opioid-related work:
10                     [A]ny and all acts, failures to act, conduct, statements, errors,
11                     omissions, events, breaches of duty, services, advice, work,
                       deliverables, engagements, transactions, or other activity of any
12                     kind whatsoever, occurring up to and including the Effective Date
                       arising from or related in any way to (i) the discovery,
13                     development, manufacture, marketing, promotion, advertising,
                       recall, withdrawal, distribution, monitoring, supply, sale,
14                     prescribing, reimbursement, use, regulation, or abuse of any
15                     opioid, or (ii) the treatment of opioid abuse or efforts to combat the
                       opioid crisis, or (iii) the characteristics, properties, risks, or
16                     benefits of any opioid, or (iv) the spoliation of any materials in
                       connection with or concerning any of the foregoing.
17
     (E.g., id. § II.A (emphasis added).) The description of the claims released was similarly
18
     expansive and included “without limitation, claims that were or could have been brought by a
19

20   Settling State under its State’s consumer protection and unfair practices law, RICO laws, false

21   claims law and claims for public nuisance, together with any related common law and equitable
22   claims for damages or other relief.” (E.g., id. § VII.A.) McKinsey and the States expressly
23
     agreed that the Consent Judgments could not be used by any third party in any other litigation
24

25

26   5
      The Consent Judgments define “McKinsey” as “McKinsey & Company, Inc. United States, a Delaware
     Corporation, and all its current and former officers, directors, partners, employees, representatives, agents, affiliates,
27   parents, subsidiaries, operating companies, predecessors, assigns and successors.” (E.g., Cheifetz Decl., Ex. H
     § II.C.)
28                                                             –7–


                          MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                    CASE NO. 3:21-MD-02996-CRB
 1   and that they may only be enforced in a separate action by either McKinsey, the Attorneys

 2   General or the Court. (See, e.g., id. § I.K.)
 3
             Between February 4, 2021 and April 5, 2021, the Consent Judgments reflecting the above
 4
     settlement terms were filed, approved and entered by courts in all 50 States, five territories and
 5
     the District of Columbia. (See, e.g., id., Exs. A-UU.)
 6
             B.       The Plaintiffs’ Copycat Lawsuits
 7
             Despite full awareness of McKinsey’s work for Purdue and other manufacturers since at
 8

 9   least 2019,6 the Plaintiffs only began filing lawsuits in early 2021, after McKinsey had entered

10   into settlement discussions with the States, and the vast majority of Plaintiffs only filed suit after
11   McKinsey and the States had publicly filed consent judgments reflecting their global resolution.
12
     (Compare, e.g., id., Ex. F (Consent Judgment between McKinsey and State of Florida filed
13
     February 4, 2021), with City of Pembroke Pines, Florida Class Action Compl., 21-cv-4384, ECF
14
     No. 1 (Feb. 5, 2021).) Unsurprisingly, Plaintiffs’ lawsuits assert nearly identical allegations to
15

16   those asserted in the States’ complaints. For example, allegations asserted by Scott County,

17   Indiana are exact, word-for-word copies of those asserted by the State of Indiana. (Compare

18   Cheifetz Decl., Ex. M ¶¶ 6-33, with Scott County, Indiana Class Action Compl. ¶¶ 18-44, 21-cv-
19   6237, ECF No. 1.)
20

21
     6
       In 2019, in response to a third-party subpoena, McKinsey produced over 6,000 documents to the Plaintiffs’
22   Executive Committee (“PEC”) in the multidistrict litigation pending before Judge Polster in the Northern District of
     Ohio (the “Ohio MDL”), related to McKinsey’s work for various opioid manufacturers, including Purdue. See Mot.
23   to Modify Protective Order at 2, 17-md-2804, ECF No. 4024 (N.D. Ohio Oct. 14, 2021). Counsel constituting the
     Plaintiffs’ Steering Committee in this proceeding substantially overlap with counsel representing the PEC in the
24   Ohio MDL and therefore have had access to those documents since 2019. See id. at 2 n.4. And undoubtedly, the
     manufacturers’ document productions to the PEC in the Ohio MDL (which began in 2017) also contained references
25   to McKinsey’s work for them. In addition, the Massachusetts Attorney General’s complaint against Purdue was
     publicly unsealed in January 2019 and contained allegations related to McKinsey’s work for Purdue. (See Cheifetz
26   Decl., Ex. VV ¶¶ 269, 291, 402-407, 413, 425, 528, 564, 567-72.); see also Transcript of Oral Argument at 15:9-12,
     MDL No. 2996, ECF No. 151 (J.P.M.L. May 27, 2021) (“Judge Norton: Yes. I’m wondering why y’all waited so
27   long to bring these cases. I mean, this 2804, as Mr. [Bernard] said, is over three years. Why did we wait over three
     years to start these new claims against McKinsey.”).
28                                                          –8–


                         MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                   CASE NO. 3:21-MD-02996-CRB
 1           On June 8, 2021, the Judicial Panel on Multidistrict Litigation consolidated Plaintiffs’

 2   claims before this Court for purposes of pretrial proceedings. See Transfer Order, ECF No. 1.
 3
     By joint submission, McKinsey and Plaintiffs agreed that McKinsey would produce to Plaintiffs
 4
     all documents produced to the States for publication in an online repository as required by the
 5
     Consent Judgments. See Joint Status Conference Submission at 1, ECF No. 240. Following
 6
     McKinsey’s production to Plaintiffs of over 115,000 documents on November 18, 2021,
 7

 8   Plaintiffs filed Master Consolidated Complaints (“MCCs”) on December 6, 2021. See Redacted

 9   Master Complaint (Subdivision), ECF No. 296 (“Subdivision MCC”); Redacted Master
10   Complaint (School Districts), ECF No. 297 (“School District MCC”). The Subdivision MCC
11
     purports to be an “administrative device” that “does not supersede the complaints filed in
12
     individual actions” and that “incorporates by reference the complaints filed by individual
13
     subdivision Plaintiffs pending in this MDL as of November 22, 2021.” Subdivision MCC at 1.
14

15   Accordingly, this motion is directed at both Plaintiffs’ MCCs and their individual complaints.7

16           Just like the States, the Plaintiffs broadly allege that McKinsey’s consulting work for

17   Purdue and other opioid manufacturers contributed to an increase in improper opioid
18   prescriptions. See, e.g., Walker County, Alabama Class Action Compl. ¶ 115, 21-cv-4960, ECF
19
     No. 1; Subdivision MCC ¶ 425; School District MCC ¶ 432. Also like the States, the Plaintiffs
20
     focus primarily on McKinsey’s work for Purdue between 2009 and 2014. Specifically, the
21
     Plaintiffs allege that, in 2009, McKinsey helped Purdue “enhance loyalty to OxyContin” among
22

23   prescribers. See, e.g., Scott County, Indiana Compl. ¶ 26, 21-cv-6237, ECF No. 1; Subdivision

24

25
     7
       The Subdivision MCC omits certain causes of action and class allegations that are included in the individual
26   complaints. However, because the Subdivision MCC does not “supersede the complaints filed in individual actions”
     this motion addresses allegations contained in either the individual complaints or the MCCs. McKinsey does not
27   waive its right under Pretrial Order No. 7 to only respond to or move against the MCCs in future motions or
     pleadings. See Pretrial Order No. 7: Initial Case Management Order ¶ 5, ECF No. 293.
28                                                        –9–


                        MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                  CASE NO. 3:21-MD-02996-CRB
 1   MCC ¶ 138; School District MCC ¶ 610. The Plaintiffs allege that, in 2013, McKinsey

 2   recommended “a marketing strategy to increase opioid sales” referred to as “Evolve 2
 3
     Excellence.” City of Shawnee, Oklahoma Pet. ¶ 11, 21-cv-4388, ECF No. 1-1; see also
 4
     Subdivision MCC ¶ 244; School District MCC ¶ 251.
 5
            Just like the States, the Plaintiffs allege that E2E involved: (1) increasing sales calls to
 6
     high-volume prescribers, see, e.g., Board of Education of Jefferson County, Kentucky Class
 7

 8   Action Compl. ¶ 66, 21-cv-4955, ECF No. 1; Subdivision MCC ¶ 257; School District MCC

 9   ¶ 264; (2) focusing marketing efforts on selling higher strength dosages, see, e.g., City of
10   Chesapeake, Virginia Compl. ¶ 83, 21-cv-5292, ECF No. 1; Subdivision MCC ¶ 599; School
11
     District MCC ¶ 606; (3) recommending a mail-order pharmacy program, see, e.g., City of New
12
     York, New York Compl. ¶ 62, 21-cv-5183, ECF No. 1-1; Subdivision MCC ¶ 271; School
13
     District MCC ¶ 278; (4) coordinating with Purdue’s Executive Oversight Team and Project
14

15   Management Office, see, e.g., St. Clair County, Illinois Compl. ¶ 138, 21-cv-4642, ECF No. 1-2;

16   Subdivision MCC ¶ 248; School District MCC ¶ 255; and (5) lobbying pharmacy executives to

17   increase sales, see, e.g., Green County, Kentucky Class Action Compl. ¶ 113, 21-cv-4536, ECF
18   No. 1-1; Subdivision MCC ¶ 272; School District MCC ¶ 279.
19
            Also like the States, the Plaintiffs allege that, in 2008, McKinsey recommended that
20
     Purdue “band together” with other manufacturers to push back on “strict treatment” by the FDA,
21
     Scott County, Indiana Compl. ¶ 25, 21-cv-6237, ECF No. 1; Subdivision MCC ¶ 414; School
22

23   District MCC ¶ 421, and that, in 2017, McKinsey recommended paying insurers rebates for

24   adverse events tied to OxyContin, see, e.g., San Mateo County, California Compl. ¶ 110, 21-cv-

25   6009, ECF No. 1; Subdivision MCC ¶¶ 487-92; School District MCC ¶¶ 494-99. The Plaintiffs
26
     also similarly allege that McKinsey worked for other opioid manufacturers, see, e.g., City of
27

28                                                   – 10 –


                      MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                CASE NO. 3:21-MD-02996-CRB
 1   Pembroke Pines, Florida Class Action Compl. ¶ 158, ECF No. 1; Subdivision MCC ¶¶ 291-393;

 2   School District MCC ¶¶ 298-400, and that McKinsey partners discussed deleting documents, see,
 3
     e.g., Peach County, Georgia Class Action Compl. ¶ 92, 21-cv-4963, ECF No. 1; Subdivision
 4
     MCC ¶ 493; School District MCC ¶ 500.
 5
            As did the States, the Plaintiffs assert their claims on behalf of the public interest in order
 6
     to protect the health and welfare of their residents. See, e.g., Walker County, Alabama Class
 7

 8   Action Compl. ¶ 10, 21-cv-4960, ECF No. 1 (“Plaintiffs are responsible for the public health,

 9   safety and welfare of their citizens.”); Scott County, Indiana Class Action Compl. ¶ 1, 21-cv-
10   6237, ECF No. 1 (“Plaintiff . . . is authorized to bring this action in that it has quasi-sovereign
11
     interest in the health and well-being physically and economically of its citizens . . . .”); City of
12
     Chesapeake, Virginia Compl. ¶ 133, 21-cv-5292 ECF No. 1 (“Public resources are being
13
     unreasonably consumed in efforts to address the opioid epidemic, thereby eliminating available
14

15   resources which could be used to benefit the public at large . . . .”); Subdivision MCC ¶ 713

16   (“McKinsey’s conduct has created an . . . interference with rights common to the general public,

17   including the public health, welfare, safety, peace, comfort, and convenience of Plaintiffs’
18   communities.”); School District MCC ¶ 699 (same). The Plaintiffs also seek the same relief as
19
     the States—namely, injunctive and financial relief to remediate the effects of the opioid
20
     epidemic, including costs associated with medical care, child welfare, law enforcement, public
21
     safety and the criminal justice system. See, e.g., City of Shawnee, Oklahoma Pet. ¶¶ 210,
22

23   212(g), 21-cv-4388, ECF No. 1-1; City of Chesapeake, Virginia Compl., 21-cv-5292, ECF No. 1

24   ¶ 45; Subdivision MCC ¶ 684; School District MCC ¶ 540.

25          Not only do Plaintiffs’ claims duplicate those of the States, Plaintiffs in nearly half of the
26
     Subject States expressly seek statewide relief. In 11 of the 23 Subject States, Plaintiffs have filed
27

28                                                   – 11 –


                       MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                 CASE NO. 3:21-MD-02996-CRB
 1   at least one class action suit on behalf of all political subdivisions or school districts statewide.

 2   In addition, by way of example, 155 Ohio political subdivisions, 67 New York political
 3
     subdivisions and 37 Mississippi political subdivisions have filed suit to date, representing nearly
 4
     every corner of those three states. Plaintiffs’ allegations also underscore that Plaintiffs are
 5
     attempting to assert statewide claims. See, e.g., City of Shawnee, Oklahoma Pet. ¶ 202, 21-cv-
 6
     4388, ECF No. 1-1 (“McKinsey, through its work with Purdue, owed a duty of care to the
 7

 8   State . . . .”) (emphasis added); Scott County, Indiana Class Action Compl. ¶ 41, 21-cv-6237,

 9   ECF No. 1 (“The opioid crisis has forced Indiana to pay billions of dollars for increased costs in
10   health care, child welfare, criminal justice, and many other programs needed to abate the
11
     epidemic.”) (emphasis added); City of Chesapeake, Virginia Compl. ¶ 11, 21-cv-5292, ECF No.
12
     1 (“Virginia and Plaintiff have experienced a significant spike in opioid-related abuse and deaths
13
     in recent years.”) (emphasis added). Accordingly, and as detailed below, Plaintiffs’ claims
14

15   duplicate those of the States.

16   III.    ARGUMENT

17           A.      Plaintiffs, as Political Subdivisions, Are Subordinate, Administrative Arms of
                     the State Whose Claims Must Yield to Those of Their Respective States
18
             Every state in the Union is empowered to address matters affecting its residents,
19

20   including and especially matters of public health. Whether through their common law tradition,

21   constitution, or statutes, all states prioritize the authority of their attorney general to represent

22   those interests. For this reason, the State is the party best suited to represent the public interest in
23
     matters affecting residents or political subdivisions statewide. See Alfred L. Snapp & Son, Inc. v.
24
     Puerto Rico ex rel. Barez, 458 U.S. 592, 603-04 (1982) (“‘[I]f the health and comfort of the
25
     inhabitants of a State are threatened, the State is the proper party to represent and defend
26
     them.’”) (quoting Missouri v. Illinois, 180 U.S. 208, 241 (1901)); Nash Cnty. Bd. of Educ. v.
27

28                                                    – 12 –


                       MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                 CASE NO. 3:21-MD-02996-CRB
 1   Biltmore Co., 640 F.2d 484, 496 (4th Cir. 1981) (“It would seem self-evident that common sense

 2   dictates that when an alleged wrong affects governmental units on a state-wide basis, the state
 3
     should seek redress on their behalf as well as on its own rather than parceling out the actions
 4
     among local agencies.”).
 5
              Political subdivisions are simultaneously part of and subordinate to the State and this
 6
     relationship directly informs the application of the law of res judicata and release in each state,
 7

 8   compelling the dismissal of Plaintiffs’ claims under both doctrines.8 “Political subdivisions of

 9   States—counties, cities or whatever—never were and never have been considered as sovereign
10   entities.” Reynolds v. Sims, 377 U.S. 533, 575 (1964). Rather, they are “regarded as subordinate
11
     governmental instrumentalities created by the State to assist in the carrying out of state
12
     governmental function,” Sailors v. Bd. of Educ., 387 U.S. 105, 107-08 (1967), and all local
13
     government authority is derived from the State, see Nixon v. Missouri Mun. League, 541 U.S.
14

15   125, 140 (2004) (noting that political subdivisions are “created as convenient agencies for

16   exercising such of the governmental powers of the State as may be entrusted to them in its

17   absolute discretion”); see also Bd. of Supervisors v. Local Agency Formation Comm., 838 P.2d
18   1198, 1205 (Cal. 1992) (“In our federal system the states are sovereign but cities and counties are
19
     not; in California as elsewhere they are mere creatures of the state and exist only at the state’s
20
     sufferance.”). Even a political subdivision’s existence is subject to the supremacy and will of the
21
     State. See City of Trenton v. State of New Jersey, 262 U.S. 182, 187 (1923) (“A municipality is
22

23   merely a department of the state, and the state may withhold, grant or withdraw powers and

24   privileges as it sees fit. However great or small its sphere of action, it remains the creature of the

25   state exercising and holding powers and privileges subject to the sovereign will.”); see also Hess
26

27   8
      The law of res judicata and release in each state relevant to this motion is discussed in detail below. See infra
     Parts III.B-C.
28                                                           – 13 –


                          MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                    CASE NO. 3:21-MD-02996-CRB
 1   v. Port Auth. Trans–Hudson Corp., 513 U.S. 30, 47 (1994) (“[U]ltimate control of every state-

 2   created entity resides with the State . . . [and p]olitical subdivisions exist solely at the whim and
 3
     behest of their State.”).
 4
             For this reason, pursuant to various legal doctrines, including but not limited to res
 5
     judicata and release, courts have repeatedly barred duplicative, piecemeal litigation by
 6
     subordinate political subdivisions in favor of the State’s power to bring final resolution to
 7

 8   matters affecting the statewide public interest. For example, in New Hampshire v. Dover, the

 9   New Hampshire Supreme Court held that a parallel products liability suit brought by the cities of
10   Dover and Portsmouth against producers of the chemical compound MTBE must be dismissed in
11
     favor of the New Hampshire Attorney General’s suit asserting the same claims. See 891 A.2d
12
     524 (N.H. 2006). The court first found that the Attorney General was suing to protect the
13
     “general health and well-being of its residents” with respect to the statewide water supply. Id. at
14

15   529. As a result, the Attorney General was deemed to represent all New Hampshire citizens

16   unless the cities could demonstrate a “compelling interest” in maintaining separate suits. Id. at

17   530-31. The cities argued that they had demonstrated such an interest because the attorney
18   general’s suit (1) named fewer defendants, (2) failed to allege theories that the cities alleged, (3)
19
     failed to seek remedies sought by the cities, and (4) was subject to defenses not applicable to the
20
     cities. See id. at 531. The cities also complained that the Attorney General “promised to use any
21
     recovery to establish a public fund to be managed by the attorney general instead of distributing
22

23   it to cities in accordance with individual damages.” Id. The court rejected each argument,

24   further noting:

25                     There is no reason for the Court to conclude, on the facts
                       presented, that the State will not seek to obtain full compensation
26
                       for all communities, including the Cities. While the compensation
27                     sought may not be the same as that which the cities would desire, a

28                                                    – 14 –


                         MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                   CASE NO. 3:21-MD-02996-CRB
 1                   difference of that nature does not demonstrate an interest that is not
                     properly represented by the State.
 2
     Id. Applying a line of cases denying intervention in state-controlled litigation, the Court held
 3

 4   that the cities “failed to show a sufficient reason why the State cannot adequately represent

 5   them,” and therefore concluded that their “suits must yield to the State’s suit.” Id. at 534.

 6           Courts have reached similar results under the doctrines of res judicata and release
 7   (discussed in further detail below). In Biltmore, the Fourth Circuit Court of Appeals held that
 8
     federal antitrust claims asserted by a county board of education against dairy producers were
 9
     barred, under the principles of res judicata, by a consent judgment previously obtained by the
10
     North Carolina Attorney General against the same defendants. See 640 F.2d 484. The Court of
11

12   Appeals found that (1) a consent decree constituted a final judgment on the merits, (2) the claims

13   were identical because they “deal[t] with the same subject-matter,” and (3) the parties were in
14   privity because the attorney general had the authority to represent the school districts and both
15
     parties asserted identical interests. Id. at 487-96 (“The Attorney General as legal representative
16
     of the sovereign and its constitutional subdivisions had both common law and statutory power to
17
     bind the State and the subdivisions by his acts.”); see also In re Certified Question from U.S.
18
     District Court for Eastern District of Michigan (“In re Certified Question”), 638 N.W.2d 409,
19

20   415 (Mich. 2002) (holding Michigan Attorney General had power to settle and release claims of

21   a “subordinate” county where “the Attorney General acted to bind the state as a whole in a
22   matter clearly of state interest”).
23
             Even claims by private individuals are dismissed in favor of claims brought by the State
24
     if those individuals seek to represent a public interest previously represented by the State. For
25
     example, in Alaska Sport Fishing Association v. Exxon Corporation, the Ninth Circuit Court of
26

27   Appeals affirmed a district court ruling that res judicata barred sport fishers from pursuing

28                                                   – 15 –


                       MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                 CASE NO. 3:21-MD-02996-CRB
 1   public loss of use claims against Exxon (arising from the 1989 Exxon Valdez oil spill) because a

 2   consent decree entered into by the State of Alaska and Exxon “settled all such public claims.” 34
 3
     F.3d 769, 770 (9th Cir. 1994). In exchange for a release of “any and all civil claims,” Exxon
 4
     paid $900 million to the State of Alaska and the federal government in compensation for “injury
 5
     to, destruction of, or loss of any and all Natural Resources.” Id. at 771. The Ninth Circuit
 6
     reasoned that where a state sues to protect a public interest, the state is “presumed” to
 7

 8   “adequately represent the position of its citizens.” Id. at 773. Accordingly, the sport fishers’

 9   lawsuit was barred by the consent decree obtained by the State of Alaska pursuant to the doctrine
10   of res judicata. See id.
11
            The law in each Subject State similarly requires the dismissal of Plaintiffs’ claims both
12
     on the grounds of res judicata and release.
13
            B.      All Plaintiffs’ Claims Are Barred by the Doctrine of Res Judicata
14
            The doctrine of res judicata provides that a “final judgment on the merits bars further
15

16   claims by parties or their privies based on the same cause of action.” Montana v. United States,

17   440 U.S. 147, 153 (1979). The doctrine is “central to the purpose for which civil courts have
18   been established, the conclusive resolution of disputes within their jurisdiction,” Headwaters Inc.
19
     v. U.S. Forest Serv., 399 F.3d 1047, 1051-52 (9th Cir. 2005), and protects “against the expense
20
     and vexation attending multiple lawsuits, conserve[es] judicial resources, and foster[s] reliance
21
     on judicial action by minimizing the possibility of inconsistent verdicts,” B&B Hardware, Inc. v.
22

23   Hargis Indus., 575 U.S. 138, 147 (2015) (internal quotations and citations omitted); see also

24   Schwartz v. City of Flint, 466 N.W.2d 357, 359 (Mich. Ct. App. 1991) (“The doctrine of res

25   judicata is a manifestation of the recognition that interminable litigation leads to vexation,
26   confusion, and chaos for the litigants, resulting in the inefficient use of judicial time.”). Res
27
     judicata therefore bars the re-litigation of matters that either “were raised or could have been
28                                                   – 16 –


                       MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                 CASE NO. 3:21-MD-02996-CRB
 1   raised” but were not in a prior lawsuit. Villacres v. ABM Indus. Inc., 117 Cal. Rptr. 3d 398, 409

 2   (Cal. Ct. App. 2010) (internal quotations and citations omitted).
 3
              “[A] federal court must give to a state-court judgment the same preclusive effect as
 4
     would be given that judgment under the law of the State in which the judgment was rendered.”
 5
     Holcombe v. Hosmer, 477 F.3d 1094, 1097 (9th Cir. 2007). Under the law of each state relevant
 6
     to this ground for dismissal,9 the elements to establish res judicata are: (1) a final judgment on
 7

 8   the merits; (2) an identity of claims; and (3) identity of or privity between parties.10 See, e.g.,

 9   Samara v. Matar, 419 P.3d 924, 926 (Cal. 2018); A&R Janitorial v. Pepper Constr. Co., 124
10   N.E.3d 962, 965 (Ill. 2018). Each of these elements is satisfied here.
11
                       1.       The Consent Judgments Are Final Judgments on the Merits
12
              Res judicata requires a final judgment on the merits. Under the law of each relevant
13
     state, a court-approved consent judgment formalizing a settlement agreement constitutes a “final
14
     judgment on the merits” for purposes of res judicata. See, e.g., Brown & Williamson Tobacco
15

16   Corp. v. Gault, 627 S.E.2d 549, 553 (Ga. 2006) (“Although a consent judgment is brought about

17   by agreement of the parties, it is accorded the weight and finality of a judgment. Thus, a consent
18

19

20   9
       As noted above and explained in more detail below, this motion is not directed at lawsuits brought by political
     subdivisions in the states of Washington or West Virginia. Moreover, because McKinsey settled by private
21   agreement with the State of Wisconsin, rather than by Consent Judgment, McKinsey is only arguing that Wisconsin
     released the claims of its political subdivisions. It is not arguing that political subdivisions from Wisconsin are
22   barred under the doctrine of res judicata. Accordingly, to date, there are 22 jurisdictions relevant to this ground for
     dismissal.
23   10
        Missouri has a fourth requirement for res judicata which also goes to the identity of parties, requiring “identity of
     the quality of the person for or against whom the claim is made.” Xiaoyan Gu v. Da Hua Hu, 447 S.W.3d 680, 689
24   (Mo. Ct. App. 2014). This requirement turns on whether the status or capacity in which the parties sued or were
     sued was the same in both actions. See Jordan v. Kansas City, 929 S.W.2d 882, 887 (Mo. App. 1996) (“The status
25   in which the City was sued was the same in both actions” because consecutive suits against city employee and city
     itself were both based on employee’s acts in scope of employment for city); Xiaoyan Gu, 447 S.W.3d at 692
26   (holding that because “Plaintiff sued Defendant in her individual capacity as a judgment creditor in both the prior
     and present garnishment suits,” and defendant was sued in same capacity, fourth element was satisfied). As
27   discussed below, this factor is plainly met here, as Plaintiffs are suing the same defendants to vindicate the same
     public interests that their State already represented.
28                                                            – 17 –


                            MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                      CASE NO. 3:21-MD-02996-CRB
 1   decree is an enforceable judgment and can be accorded preclusive effect.”).11 Accordingly, the

 2   Consent Judgments reflecting McKinsey’s settlement with the States, which were approved and
 3
     entered by courts in all relevant states, constitute final judgments on the merits for purposes of
 4
     res judicata. (See Cheifetz Decl., Exs. A-RR.)
 5
                      2.       Plaintiffs Are Asserting the Same “Cause of Action” as the States
 6
             For purposes of res judicata, “cause of action” is not defined by the formal claim pleaded
 7

 8   (e.g., negligence, fraud, public nuisance, etc.), the theories raised, or the relief sought, but, rather,

 9   by the alleged facts giving rise to the claims. See, e.g., Allstar Towing, Inc. v. City of

10   Alexandria, 344 S.E.2d 903, 905-06 (Va. 1986) (“For the purposes of res judicata, a ‘cause of
11
     action’ may be defined broadly as an assertion of particular legal rights which have arisen out of
12
     a definable factual transaction.”) (internal quotations and citations omitted); Tyson v. Viacom,
13
     Inc., 890 So.2d 1205, 1212 (Fl. Dist. Ct. App. 2005) (“Res judicata defines a cause of action in
14
     terms of identical facts.”). Accordingly, a “cause of action” will be the same where the facts
15

16   giving rise to the claims are the same. See, e.g., Hayashi v. Illinois Dep’t of Fin. & Prof’l

17   Regulation, 25 N.E.3d 570, 585 (Ill. 2014) (“Separate claims will be considered the same cause
18   of action for purposes of res judicata if they arise from a single group of operative facts,
19
     regardless of whether they assert different theories of relief.”) (internal quotations and citation
20
     omitted).
21
             To determine whether a “cause of action” is the same for res judicata purposes, 20 of the
22

23   22 relevant states apply the “transactional approach” outlined in the Second Restatement of

24   Judgments. See Restatement (Second) of Judgments § 24 (1982); see, e.g., Lawrence v. Bingham

25

26
     11
        See also Appendix A. Given the large number of jurisdictions relevant to this motion, for the Court’s
27   convenience, attached hereto as Appendices A-K are tables providing citations to factual allegations and relevant
     state law for certain propositions of law McKinsey relies on in this motion.
28                                                          – 18 –


                           MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                     CASE NO. 3:21-MD-02996-CRB
 1   Greenebaum Doll, L.L.P., 599 S.W.3d 813, 826 (Ky. 2019) (“Kentucky follows the

 2   ‘transactional approach’ in determining whether identity of causes of action exists.”).12 The
 3
     transactional approach bars all claims arising out of the same “transaction or series of
 4
     transactions,” or the same “core of operative facts,” as the prior claims, regardless of any
 5
     difference in the legal theories raised or relief sought. See, e.g., Old Republic Ins. Co. v. Lanier,
 6
     790 So.2d 922, 928 (Ala. 2000) (“Res judicata applies not only to the exact legal theories
 7

 8   advanced in the prior case, but to all legal theories and claims arising out of the same nucleus of

 9   operative facts.”).
10              “What factual grouping constitutes a ‘transaction,’ and what groupings constitute a
11
     ‘series,’ are to be determined pragmatically, giving weight to such considerations as whether the
12
     facts are related in time, space, origin, or motivation, whether they form a convenient trial unit,
13
     and whether their treatment as a unit conforms to the parties’ expectations or business
14

15   understanding or usage.” Funny Guy, LLC v. Lecego, LLC, 795 S.E.2d 887, 892 (Va. 2017)

16   (quoting Restatement (Second) of Judgments § 24, comment a). This is consistent with the

17   majority trend “to see a claim in factual terms and to make it coterminous with the transaction
18   regardless of the number of substantive theories, or variant forms of relief flowing from those
19
     theories, that may be available to plaintiff, regardless of the number of primary rights that may
20
     be invaded, and regardless of the variations in evidence needed to support the theories or rights.”
21
     Restatement (Second) of Judgments § 24 comment a (1982). The transactional approach “is
22

23   grounded in public policy concerns, including fairness to the parties, and is intended to ensure

24   finality, prevent vexatious litigation and promote judicial economy.” Simmons v. Trans Express

25   Inc., 170 N.E.3d 733, 737 (N.Y. 2021).
26

27
     12
          See also Appendix B.
28                                                    – 19 –


                           MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                     CASE NO. 3:21-MD-02996-CRB
 1           Two states relevant to this motion apply different, though related, standards. Indiana

 2   applies the “identical evidence” test, which asks “whether identical evidence will support the
 3
     issues involved in both actions.” Hilliard v. Jacobs, 957 N.E.2d 1043, 1047 (Ind. Ct. App.
 4
     2011). California applies the “primary rights” test, which defines a “cause of action” as “the
 5
     right to obtain redress for a harm suffered, regardless of the specific remedy sought or the legal
 6
     theory (common law or statutory) advanced.” Boeken v. Phillip Morris USA, Inc., 230 P.3d 342,
 7

 8   348 (Cal. 2010).

 9           Under either the “transactional,” “identical evidence” or “primary rights” test, Plaintiffs
10   assert the same “cause of action” as the States. Their claims arise out of the exact same series of
11
     engagements McKinsey performed for Purdue and other opioid manufacturers that gave rise to
12
     the States’ claims. Plaintiffs plead (sometimes word-for-word) the exact same factual allegations
13
     pleaded by the States and are seeking redress for the alleged invasion of the same right and same
14

15   alleged harms. The following table provides representative allegations from each of the States’

16   complaint as well as the duplicative allegations in complaints filed by Plaintiffs from each State,

17   illustrating the identity of the “cause of action” asserted by the States and Plaintiffs under each of
18   the relevant tests:
19
                       States’ Claims                                   Plaintiffs’ Claims
20    “McKinsey worked with entities involved in         “McKinsey had access to public information
      manufacturing and selling opioids and thereby      indicating that OxyContin and other opioids
21    contributed to the opioid crisis.” (Cheifetz       pose significant risk of addiction and
      Decl., Ex. CC ¶ 8 (State of New York); see         misuse—and that the actions and omissions of
22
      also id. Ex. II ¶ 8 (State of Pennsylvania)        their several opioid manufacturer clients,
23    (same).)                                           including but not limited to Purdue, were
                                                         actually contributing to a nationwide opioid
24                                                       epidemic.” City of New York, New York
                                                         Compl. ¶ 79, 21-cv-5183, ECF No. 1-1; see
25                                                       also, e.g., Bedford County, Pennsylvania
26                                                       Compl. ¶ 257, 21-cv-5182, ECF No. 1-1;

27

28                                                   – 20 –


                        MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                  CASE NO. 3:21-MD-02996-CRB
 1                                                      Subdivision MCC ¶ 425; School Districts
                                                        MCC ¶ 432.
 2
     “McKinsey advised Purdue to ‘band together’        “McKinsey recognized the value of
 3
     with other opioid manufacturers toward a           collaboration, urging Purdue to band together
 4   class REMS to ‘formulate arguments to              with other manufacturers to ‘defend against
     defend against strict treatment by the FDA.’”      strict treatment’ by the federal Food & Drug
 5   (Cheifetz Decl., Ex. EE ¶ 16 (State of Ohio);      Administration (‘FDA’).” Montgomery
     see also id. Ex. OO ¶ 13 (State of Utah)           County, Ohio Compl. ¶ 4, 21-cv-4487, ECF
 6   (same).)                                           No. 1; see also, e.g., Cache County, Utah
                                                        Compl. ¶ 4, Case No. 210100355 (Utah Dist.
 7
                                                        Ct.) (removal and transfer forthcoming)
 8                                                      (same); Subdivision MCC ¶ 414; School
                                                        Districts MCC ¶ 421.
 9
     “ln 2009, Purdue hired McKinsey to increase        “By 2009, McKinsey was working with its
10   ‘brand loyalty’ to OxyContin. McKinsey             long-time client to craft and implement a sales
     recommended the best ways to ensure loyalty        and marketing plan to increase OxyContin
11
     to the brand by targeting specific patients,       sales . . . .” Allegany County, Maryland
12   including patients new to opioids, and             Compl. ¶ 14, 21-cv-9920, ECF No. 1; see
     developing targeted messaging for specific         also, e.g., Subdivision MCC ¶ 138; School
13   prescribers.” (Cheifetz Decl., Ex. S ¶ 12          Districts MCC ¶ 610.
     (State of Maryland).)
14
     “Purdue approved McKinsey’s plan, and              “[T]he following month Purdue implemented
15   together with McKinsey, moved to implement         Project Turbocharge based on McKinsey’s
16   the plan to ‘Turbocharge Purdue’s Sales            recommendations . . . and re-christened the
     Engine,’ under the name Evolve 2 Excellence        initiative . . . ‘E2E: Evolve to Excellence.’”
17   (‘E2E’).” (Cheifetz Decl., Ex. O ¶ 17 (State       Green County, Kentucky Class Action
     of Kentucky); see also id. Ex. QQ ¶ 19 (State      Compl. ¶ 159, 21-cv-4536, ECF No. 1-1; see
18   of Virginia) (same).)                              also, e.g., City of Chesapeake, Virginia
                                                        Compl. ¶ 95, 21-cv-5292, ECF No. 1 (same);
19
                                                        Subdivision MCC ¶ 244; School Districts
20                                                      MCC ¶ 251.

21   “Among the key components of McKinsey’s            “Perhaps the key insight McKinsey provided
     plan adopted by Purdue were to . . . focus         was, using its granular approach, to identify
22   sales calls on high-volume opioid                  historically large prescribers and target ever
     prescribers . . . .” (Cheifetz Decl., Ex. GG       more sales and marketing resources on them.”
23   ¶ 16 (State of Oklahoma); see also id. Ex. W       Kay County, Oklahoma Pet. ¶ 93, 21-cv-
24   ¶ 16 (State of Mississippi) (same).)               4382, ECF No. 1-1; see also, e.g., Amite
                                                        County, Mississippi Compl. ¶ 137, 21-cv-
25                                                      9831, ECF No. 1 (same); Subdivision MCC
                                                        ¶ 257; School Districts MCC ¶ 264.
26
     “Among the key components of McKinsey’s            “McKinsey advised Purdue to focus on
27   plan adopted by Purdue were to . . . focus         selling higher strength dosages of
28                                                  – 21 –


                    MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                              CASE NO. 3:21-MD-02996-CRB
 1   Purdue’s marketing messaging to titrate to         OxyContin.” City of Pembroke Pines, Florida
     higher, more lucrative dosages . . . .”            Class Action Compl. ¶ 106, 21-cv-4384, ECF
 2   (Cheifetz Decl., Ex. E ¶ 16 (State of Florida);    No. 1; see also, e.g., Blount County,
     see also id., Ex. KK ¶ 16 (State of Tennessee)     Tennessee Class Action Compl. ¶ 72, 21-cv-
 3
     (same).)                                           4969, ECF No. 1 (same); Subdivision MCC
 4                                                      ¶ 599; School Districts MCC ¶ 606.

 5   “McKinsey told Purdue's owners to . . .            “[McKinsey] also suggested the establishment
     accelerate considerations of an alternative        of a direct-mail specialty pharmacy so that
 6   distribution channel, such as delivering           Purdue could circumvent Walgreens and sell
     OxyContin directly to patients through mail-       directly to Walgreens’ customers.” Cannon
 7
     order pharmacies.” (Cheifetz Decl., Ex. U          Township, Michigan Class Action Compl.
 8   ¶ 20 (State of Michigan); see also id. Ex. Y       ¶ 110, ECF No. 1; see also, e.g., Audrain
     ¶ 16 (State of Missouri) (same).)                  County, Missouri Compl. ¶ 117, 21-cv-9834,
 9                                                      ECF No. 1 (same); Subdivision MCC ¶ 271;
                                                        School Districts MCC ¶ 278.
10
     “McKinsey partners participated as part of an      “McKinsey partners participated as part of an
11
     Executive Oversight Team and Project               Executive Oversight Team and Project
12   Management Office, reporting to Purdue’s           Management Office, reporting to Purdue’s
     Executive, the Purdue board, and with the          Executive, the Purdue board, and with the
13   Sacklers, individually. McKinsey worked side       Sacklers, individually. McKinsey worked side
     by side with Purdue and helped Purdue plan         by side with Purdue and helped Purdue plan
14   and implement E2E, assisting with sales            and implement E2E, assisting with sales
     representative training, productivity,             representative training, productivity,
15
     messaging, and call plans, IT systems,             messaging, and call plans, IT systems,
16   promotional strategies, and market                 promotional strategies, and market
     forecasting.” (Cheifetz Decl., Ex. M ¶ 18          forecasting.” City of Austin, Indiana Class
17   (State of Indiana); see also id., Ex. Q ¶ 18       Action Compl. ¶ 30, 21-cv-5403, ECF No. 1;
     (State of Louisiana) (same).)                      see also, e.g., Parish of Livingston, Louisiana
18                                                      Compl. ¶ 113, 21-cv-4962, ECF No. 1
                                                        (same); Subdivision MCC ¶ 248; School
19
                                                        Districts MCC ¶ 255.
20
     “One proposal McKinsey recommended was             “In 2017, McKinsey proposed that Purdue
21   for Purdue to pay ‘additional rebates on any       pay CVS and other distributors of OxyContin
     new OxyContin related overdose or opioid           rebates ‘for every OxyContin overdose
22   use disorder diagnosis.’” (Cheifetz Decl., Ex.     attributable to pills they sold.’” Peach
     G ¶ 23 (State of Georgia); see also id., Ex.       County, Georgia Class Action Compl. ¶ 90,
23
     MM ¶ 27 (State of Texas) (same).)                  21-cv-4963, ECF No. 1; see also, e.g., City of
24                                                      San Antonio, Texas Compl. ¶ 189, 21-cv-
                                                        9101, ECF No. 1 (same); Subdivision MCC
25                                                      ¶¶ 487-92; School Districts MCC ¶¶ 494-99.
26   “McKinsey designed and implemented for             “As early as 2002, McKinsey was advising
     other opioid manufacturers marketing plans         other opioid manufacturers regarding methods
27
     similar to those it created for Purdue.”           to boost sales of their drugs.” St. Clair
28                                                  – 22 –


                     MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                               CASE NO. 3:21-MD-02996-CRB
 1    (Cheifetz Decl., Ex. K ¶ 26 (State of Illinois);     County, Illinois Compl. ¶ 158, 21-cv-4642,
      see also id. Ex. AA ¶ 26 (State of New               ECF No. 1; see also, e.g., Bernalillo County,
 2    Mexico) (same).)                                     New Mexico Compl. ¶ 3, 21-cv-9838, ECF
                                                           No. 1 (same); Subdivision MCC ¶¶ 291-393;
 3
                                                           School Districts MCC ¶¶ 298-400.
 4

 5    “There are indications that individuals at           “In a 2018 email thread, apparently fearing
      McKinsey considered destroying or deleting           consequences for McKinsey’s work with
 6    documents relating to their work for Purdue.”        Purdue, two McKinsey senior partners who
      (Cheifetz Decl., Ex. A ¶ 26 (State of                had participated in McKinsey’s work advising
 7    Alabama).)                                           Purdue discussed deleting documents related
                                                           to opioids.” Walker County, Alabama Class
 8
                                                           Action Compl. ¶ 93, 21-cv-4960, ECF No. 1;
 9                                                         see also, e.g., Subdivision MCC ¶ 493;
                                                           School Districts MCC ¶ 500.
10
      “The opioid crisis has forced California to pay      “Plaintiff provides essential services for its
11    billions of dollars for increased costs in health    citizens and residents, including law
      care, child welfare, criminal justice, and many      enforcement, emergency medical assistance,
12
      other programs needed to abate the                   services for families and children, public
13    epidemic.” (Cheifetz Decl., Ex. C ¶ 30 (State        assistance, public welfare, and other care and
      of California); see also id., Ex. I ¶ 29 (State of   services for the health, safety and welfare of
14    Hawai’i) (same).)                                    their citizens and residents. The rising
                                                           numbers of people addicted to opioids have
15                                                         led to significantly increased costs, as well as
                                                           a dramatic increase of social problems,
16
                                                           including, but not limited to, drug abuse and
17                                                         the commission of criminal acts to obtain
                                                           opioids.” San Mateo County, California
18                                                         Compl. ¶ 14, 21-cv-6009, ECF No. 1; see
                                                           also, e.g., Kauai County, Hawai’i Compl.
19                                                         ¶ 23, 21-cv-496 (D. Haw.) (transfer
20                                                         forthcoming), ECF No. 1-1 (same);
                                                           Subdivision MCC ¶ 684; School Districts
21                                                         MCC ¶ 540.

22

23   These and other allegations confirm that Plaintiffs’ claims arise out of the same “series of
24   transactions” as the resolved States’ claims—namely, McKinsey’s work for Purdue and other
25
     opioid manufacturers related to the sale of prescription opioids. See, e.g., Bauhaus Grp. I, Inc. v.
26
     Kalikow, 139 N.Y.S.3d 193, 195-96 (N.Y. App. Div. 2021) (affirming dismissal on res judicata
27

28                                                    – 23 –


                       MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                 CASE NO. 3:21-MD-02996-CRB
 1   grounds where plaintiffs raised the “same loan transactions and factual allegations underlying the

 2   claims made in the [prior] action”).13 The identical allegations also confirm that identical
 3
     evidence supports the issues relevant to both actions. See, e.g., Freels v. Koches, 94 N.E.3d 339,
 4
     344 (Ind. Ct. App. 2018) (applying “identical evidence” test and concluding that “the underlying
 5
     facts demonstrate that both litigations are essentially the same”). Moreover, the alleged harm
 6
     suffered by California Plaintiffs confirms they are asserting the exact same “primary rights” as
 7

 8   did the State of California—i.e., the right of California communities and residents to be free from

 9   the effects of improper opioid prescriptions. See, e.g., Boeken, 230 P.3d at 348 (“[U]nder the
10   primary rights theory, the determinative factor is the harm suffered.”).
11
              Accordingly, Plaintiffs are asserting the same “cause of action” as the States.
12
                       3.       Plaintiffs Are in Privity with Their Respective States
13
              For purposes of res judicata, a non-party will be considered to be in privity with a party
14
     to a prior lawsuit, and thereby bound by a prior judgment, where “the connection between the
15

16   parties [is] such that the interests of the nonparty can be said to have been represented in the

17   prior proceeding.” Green v. Santa Fe Indus., Inc., 514 N.E.2d 105, 108 (N.Y. 1987); see also

18   City of Martinez v. Texaco Trading & Transp., Inc., 353 F.3d 758, 764 (9th Cir. 2003) (“The
19   California courts further apply privity where the nonparty has an identity of interest with, and
20
     adequate representation by, the party in the first action and the nonparty should reasonably
21
     expect to be bound by the prior adjudication.”) (internal quotations and citations omitted); State
22
     ex rel. Schachter v. Ohio Pub. Emp. Ret. Bd., 905 N.E.2d 1210, 1217 (Ohio 2009) (“[A]
23

24   mutuality of interest, including an identity of desired result, may create privity.”) (internal

25
     13
        Mississippi law similarly requires an identity of “subject matter” to establish res judicata. See Clark v. Neese,
26   262 So.3d 1117, 1123 (Miss. 2019) (holding that “res judicata bars a second action between the same parties on the
     subject matter directly involved in the prior action” and noting that “subject matter” refers to the “substance of the
27   lawsuit”). As is clear from the allegations, Plaintiffs’ claims relate to the same “subject matter” as the States’
     claims.
28                                                           – 24 –


                            MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                      CASE NO. 3:21-MD-02996-CRB
 1   quotations and citation omitted).14 The “concept of privity requires a flexible analysis . . .

 2   considering whether the circumstances of the actual relationship, the mutuality of interests, and
 3
     the manner in which the nonparty’s interests were represented in the earlier litigation established
 4
     a functional representation such that the nonparty may be thought to have had a vicarious day in
 5
     court.” Rojas v. Romanoff, 128 N.Y.S.3d 189, 197 (N.Y. App. Div. 2020). Accordingly, a non-
 6
     party whose interests have once been represented is not free to relitigate those same interests.
 7

 8   See, e.g., Alaska Sport Fishing, 34 F.3d 769.

 9                               a)       Privity Between Governmental Entities Turns on the
                                          Commonality of Interests Represented
10
                Plaintiffs are in privity with the States because they are seeking to represent the same
11

12   public interest already represented by the States. Governmental entities like the States and

13   Plaintiffs will be in privity when they represent the same interest and pursue the same objectives

14   in successive actions. See, e.g., Dyson v. Cal. State Personnel Bd., 213 Cal. App. 3d 711, 727
15
     (Cal. Ct. App. 1989) (finding privity where the “litigation objectives of the district attorney and
16
     the Attorney General in their respective proceedings were identical”);15 cf. In re Facebook, Inc.,
17
     Consumer Privacy User Profile Litig., 354 F. Supp. 3d 1122, 1132 (N.D. Cal. 2019) (finding that
18
     State of Illinois was the real party in interest in suit brought by local prosecutor because, under
19

20   Illinois’ Consumer Fraud Act, “the functions and responsibilities of the Attorney General and

21   county prosecutors are largely the same”). Similarly, “the courts have held that the agents of the
22   same government are in privity with each other, since they represent not their own rights but the
23
     right of the government.” Lerner v. Los Angeles City Bd. of Educ., 380 P.2d 97, 106 (Cal. 1963);
24
     see also Collyer v. State Tax’n & Revenue Dep’t, 913 P.2d 665, 667 (N.M. Ct. App. 1995)
25

26
     14
          See also Appendix C.
27
     15
          For additional examples of governmental privity, see Appendix D.
28                                                           – 25 –


                           MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                     CASE NO. 3:21-MD-02996-CRB
 1   (holding that state officer that settled matter “necessarily represented all state agencies that were

 2   foreseeably affected by the compromise or settlement agreement”). Privity will only be found
 3
     lacking where the governmental entity or officer asserting the later suit is serving a purpose or
 4
     function wholly distinct from that served by the earlier suit or where barring the later suit would
 5
     be inconsistent with the allocation of power between the two entities. See, e.g., Baraga Cnty. v.
 6
     State Tax Comm’n, 645 N.W.2d 13, 17-18 (Mich. 2002) (finding no privity between county tax
 7

 8   assessor and state tax commission because barring state’s later lawsuit would “be inconsistent

 9   with the statutory scheme” giving the state supervisory authority over county tax assessor).
10            Indeed, where (as here) the State brings a lawsuit on behalf of the public interest to
11
     safeguard the health, safety or welfare of its citizens, “[t]here is a presumption that the state will
12
     adequately represent the position of its citizens” and later suits asserting the same public interests
13
     will be precluded. Alaska Sport Fishing Ass’n, 34 F.3d at 773 (emphasis added); see also Satsky
14

15   v. Paramount Commc’ns, Inc., 7 F.3d 1464, 1470 (10th Cir. 1993) (“[W]hen a state litigates

16   common public rights, the citizens of that state are represented in such litigation by the state and

17   are bound by the judgment.”); cf. Badgley v. City of New York, 606 F.2d 358, 364 (2d Cir. 1979)
18   (concluding that “Pennsylvania represented all of its citizens and that the terms of the decree are
19
     thus conclusive upon all Pennsylvania citizens and bind their rights.”).16 Only later suits
20

21   16
        See also United States v. Olin Corp., 606 F. Supp. 1301, 1304 (N.D. Ala. 1985) (“The weight of authority
     indicates that once a state represents all of its citizens in a parens patriae suit, a consent decree or final judgment
22   entered in such a suit is conclusive upon those citizens and is binding upon their rights.”); Citizens for Open Access
     to Sand & Tide, Inc. v. Seadrift Ass’n, 71 Cal. Rptr. 2d 77, 88 (Cal. Ct. App. 1998) (“We are persuaded that
23   appellant, along with the public as a whole, was adequately represented by the state agencies vested with authority
     to litigate the issue of public access to the Bolinas Sandspit.”); Alderwoods Grp., Inc. v. Garcia, 119 So. 3d 497,
24   504-05 (Fla. Dist. Ct. App. 2013) (“When the government brings an action in its parens patriae capacity, res
     judicata will bar litigation by private individuals seeking to redress acts that were settled in that prior action, even if
25   the private individuals were not formal parties thereto.”); Gault, 627 S.E.2d at 552 (“Because punitive damages
     serve a public interest and are intended to protect the general public, as opposed to benefitting or rewarding
26   particular private parties, we find the State, in seeking punitive damages in the suit against B & W, did so as parens
     patriae and in this capacity represented the interests of all Georgia citizens, including plaintiffs here.”); Indiana
27   Dep’t of Env’t Mgmt. v. Conard, 614 N.E.2d 916, 923 (Ind. 1993) (“Once a governmental authority represents all of
     its citizens in a parens patriae suit, a consent decree or final judgment resolving the suit is conclusive upon those
28                                                             – 26 –


                           MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                     CASE NO. 3:21-MD-02996-CRB
 1   asserting “purely private interests” that the State would not have had standing to raise may be

 2   permitted. Satsky, 7 F.3d at 1470 (“To the extent these claims involve injuries to purely private
 3
     interests, which the State cannot raise, then the claims are not barred.”); see also Env’t
 4
     Conservation Org. v. City of Dallas, 529 F.3d 519, 531 (5th Cir. 2008) (“Once the EPA filed an
 5
     enforcement action and secured a consent decree that adequately addressed the same violations
 6
     alleged in ECO’s suit, the public interest was vindicated to the full extent of ECO’s ability to
 7

 8   vindicate it. When nothing was left for ECO to accomplish, it no longer had a stake in the

 9   litigation.”).17
10            Accordingly, suits brought by political subdivisions in the public interest (such as
11
     Plaintiffs’ here) will be barred by a prior judgment obtained by the State representing the same
12
     public interest. See, e.g., City of Martinez, 353 F.3d at 764 (distinguishing between public and
13
     private claims and holding that, “[t]o the extent that the City now seeks to represent the public
14

15   interest in its complaint, the City and the [State Department of Fish and Game] are considered to

16   be in privity because the DFG was clearly authorized to resolve the dispute involving the oil spill

17
     citizens and is binding upon their rights.”) (internal quotations and citations omitted); State v. Exxon Mobil Corp.,
18   406 F. Supp. 3d 420, 470 (D. Md. 2019) (“When a state proceeds in its parens patriae capacity, it is deemed to
     represent all its citizens.”) (internal quotations and citations omitted); Comm. for Educ. Equality v. State, 294
19   S.W.3d 477, 487 n.18 (Mo. 2009) (en banc) (“The doctrine of parens patriae creates a rebuttable presumption that
     the government adequately represents the public’s interests in cases concerning matters of sovereign interest.”);
20   Fabiano v. Philip Morris Inc., 862 N.Y.S.2d 487, 491 (N.Y. App. Div. 2008) (“[A] claim by a private attorney
     general to vindicate what is an essentially public interest in imposing a punitive sanction cannot lie where, as here,
21   that interest has been previously and appropriately represented by the State Attorney General in an action addressed,
     on behalf of all of the people of the State, including plaintiffs and the decedent, to the identical misconduct.”);
22   Tigrett v. Cooper, No. 10-2724, 2011 WL 5025491 (W.D. Tenn. Oct. 21, 2011) (holding that State adequately
     represented interests of municipalities seeking to intervene in suit relating to consolidation of municipalities’
23   governments despite argument that municipalities had uniquely local interests); Menzel v. Cnty. Utilities Corp., 501
     F. Supp. 354 (E.D. Va. 1979) (applying Virginia law and holding that Virginia residents were bound by parallel state
24   court judgment in action between State and utility arising from discharge of wastewater into waterways because
     State was presumed to adequately represent its residents’ interests).
25   17
        While some state courts have not directly addressed the question of whether a suit by the State representing the
     public interest bars later suits asserting similarly public claims, federal courts may look to federal res judicata
26   principles in predicting how a state court would rule in such instances. See, e.g., Sierra Club v. Two Elk Generation
     Partners, Ltd. P’ships, 646 F.3d 1258 (10th Cir. 2011) (predicting that Wyoming Supreme Court would look to
27   federal case law in determining whether a suit brought by the State representing the public interest would bar
     subsequent suit by Wyoming citizens asserting same public interest).
28                                                          – 27 –


                         MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                   CASE NO. 3:21-MD-02996-CRB
 1   on behalf of the public”); Cnty. of Boyd v. US Ecology, Inc., 858 F. Supp. 960, 973 (D. Neb.

 2   1994) (holding public claims brought by county barred by prior suit brought by State of
 3
     Nebraska on behalf of public), aff’d 48 F.3d 359 (8th Cir. 1995); Boothbay v. Getty Oil Co., 201
 4
     F.3d 429 (1st Cir. 1999) (unpublished) (holding town’s claims precluded by settlement reached
 5
     by the State of Maine); Dover, 891 A.2d 524 (holding claims by cities barred by parallel suit
 6
     brought by the State of New Hampshire on behalf of the public because State is presumed to
 7

 8   adequately represent the interests of all citizens); cf. Grand Traverse Band of Ottawa &

 9   Chippewa Indians v. Dir., Michigan Dep’t of Nat’l Res., 141 F.3d 635, 641-42 (6th Cir. 1998)
10   (finding non-party municipalities bound by consent order negotiated between the State of
11
     Michigan and Indian tribes); see also Wright & Miller, Federal Practice & Procedure § 4458 (“It
12
     seems likely that state law will work increasingly toward the conclusion that litigation by the
13
     state or state officials is binding on political subdivisions, simply as a matter of establishing
14

15   central control and common results.”).

16          County of Boyd is illustrative. In that case, the governor of Nebraska filed suit against a

17   developer seeking to enjoin the construction of a nuclear waste disposal site and “asserting the
18   interests of the State of Nebraska and the residents of Boyd County.” 858 F. Supp. at 964. The
19
     suit was dismissed as time-barred. See id. Thereafter, Boyd County filed suit alleging (as had
20
     the governor) that the developer failed to obtain the required “community consent,” and sought
21
     damages arising from the resulting disruption to the community, including the county’s
22

23   “increased costs of law enforcement” and “increased costs for emergency response providers.”

24   Id. at 966. Notwithstanding the fact that the governor’s suit had not sought any damages, the

25   Court held that the County was in privity with the State, and therefore barred, because (just like
26
     the States’ and Plaintiffs’ claims here) their respective lawsuits each sought to vindicate the same
27

28                                                   – 28 –


                       MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                 CASE NO. 3:21-MD-02996-CRB
 1   “common public rights” rather than the “purely private interests” of individuals. Id. at 972-73.

 2   The Eighth Circuit affirmed noting the district court’s “comprehensive, thorough opinion” as
 3
     well as the consequences of allowing such successive litigation. Cnty. of Boyd, 48 F.3d at 362
 4
     (“If this action were not precluded, and were the County to fail on the merits as the state of
 5
     Nebraska did . . . a suit could well follow by the village of Butte, representing its residents,
 6
     which if unsuccessful might well be followed by a class action on behalf of local residents.
 7

 8   Preclusion bars such successive litigation.”). Absent preclusion of Plaintiffs’ claims, the same

 9   endless litigation predicted by the court in County of Boyd could very well occur here,
10   undermining the essential goal of the settlement with the States: finality.
11
            Finding privity between parties representing the same public interest also preserves the
12
     sovereign authority of the State and places a limit on potentially endless follow-on litigation by
13
     the States’ citizens and political subdivisions. See New Jersey v. New York, 345 U.S. 369, 373
14

15   (1953) (“The principle is a necessary recognition of sovereign dignity, as well as a working rule

16   for good judicial administration. Otherwise, a state might be judicially impeached on matters of

17   policy by its own subjects, and there would be no practical limitation on the number of citizens,
18   as such, who would be entitled to be made parties.”). It is also consistent with a government’s
19
     inherent duty to consider and represent the interests of all its constituents when negotiating
20
     binding settlements:
21
                    Unlike the situations in which we fear that a party may be
22
                    attempting [to] profit at the expense of unrepresented individuals,
23                  e.g., class actions and shareholder derivative suits, we here have as
                    plaintiff the government department charged with seeing that the
24                  laws are enforced. We therefore need not fear that the pecuniary
                    interests of the plaintiff and defendant will tempt them to agree to a
25                  settlement unfair to unrepresented persons, but can safely assume
                    that the interests of all affected have been considered.
26

27

28                                                   – 29 –


                       MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                 CASE NO. 3:21-MD-02996-CRB
 1   United States v. City of Miami, 614 F.2d 1322, 1332 (5th Cir. 1980); see also Olin Corp., 606 F.

 2   Supp. at 1304 (“The weight of authority indicates that once a state represents all of its citizens in
 3
     a parens patriae suit, a consent decree or final judgment entered in such a suit is conclusive upon
 4
     those citizens and is binding upon their rights.”).
 5
                             b)      There Is Privity Here Because Plaintiffs Represent the Same
 6                                   Public Interests as the States
 7           Each State previously asserted claims on behalf of the public interest. (See, e.g., Cheifetz
 8
     Decl., Ex. EE ¶ 2 (“Plaintiff is the State of Ohio, by and through the Attorney General of
 9
     Ohio . . . who brings this action in the public interest and on behalf of the State of Ohio . . . .”);
10
     Id., Ex. K ¶ 1 (“The People of the State of Illinois, by Kwame Raoul, Attorney General of the
11

12   State of Illinois, believes this action to be in the public interest of the citizens of the State of

13   Illinois . . . .”); Id., Ex. GG ¶ 2 (“The [Oklahoma] Attorney General is authorized to bring this
14   action, in his parens patriae capacity, to enforce the OCPA in the public interest to protect the
15
     public’s health, safety and welfare . . . .”).) Each State sought injunctive and financial relief to
16
     remediate the effects of increased opioid use and misuse on their communities and residents.
17
     (See, e.g., id., Ex. V § V.1 (“The proceeds from this settlement paid to the State of Michigan [by
18
     McKinsey] must be used to remediate the harms caused to the Settling States and their citizens
19

20   by the opioid epidemic within each State . . . .”).) Because the States represented the public

21   interest, they are presumed to have adequately represented the interests of all of their citizens and
22   political subdivisions in resolving those lawsuits. See, e.g., Alaska Sport Fishing, 34 F.3d 769;
23
     Dover, 891 A.2d 524; cf. Olin Corp., 606 F. Supp. at 1304 (“[T]o intervene in a suit in district
24
     court in which a state is already a party, a citizen or subdivision of that state must overcome this
25
     presumption of adequate representation.”).
26

27

28                                                     – 30 –


                       MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                 CASE NO. 3:21-MD-02996-CRB
 1              Plaintiffs now seek to represent the same public interest previously represented by the

 2   States. (Compare, e.g., Cheifetz Decl., Ex. M ¶ 2 (State of Indiana Complaint) (“The Attorney
 3
     General is authorized to bring this action in his parens patriae capacity, as Indiana has a quasi-
 4
     sovereign interest in the health and well-being – physically and economically – of its citizens
 5
     who have suffered because of McKinsey’s conduct.”), with, e.g., Scott County, Indiana Class
 6
     Action Compl. ¶ 1, 21-cv-6237, ECF No. 1 (“Plaintiff is [sic] Scott County, Indiana is a political
 7

 8   subdivision of the State of Indiana, by and through its Board of Commissioners and is authorized

 9   to bring this action in that it has quasi-sovereign interest in the health and well-being physically
10   and economically of its citizens who have suffered because of McKinsey’s conduct in Scott
11
     County, Indiana.”).)18 Many Plaintiffs do not even limit their claims to their local communities
12
     but, rather, like the States, seek to represent the interests of all residents and political
13
     subdivisions statewide explicitly through a class action.19 See, e.g., Pope County, Illinois Class
14

15   Action Compl. ¶ 108, 21-cv-4964, ECF No. 1 (seeking to represent class of “[a]ll Illinois local

16   governmental entities for the period of 2004 to present”); Blount County, Tennessee Class

17   Action Compl. ¶ 103, 21-cv-4969, ECF No. 1 (seeking to represent class of “[a]ll Tennessee
18   Counties” and “[a]ll Tennessee Cities, Towns and/or Municipalities” “for the period of 2004 to
19
     the present”). Other Plaintiffs explicitly admit the identity of their own interests and rights with
20
     those of their State. See, e.g., City of Shawnee, Oklahoma Pet. ¶ 50, 21-cv-4388, ECF No. 1
21
     (“McKinsey, through its work with Purdue, owed a duty of care to the State . . . .) (emphasis
22

23   added); San Mateo County, California Compl. ¶ 120, 21-cv-6009, ECF No. 1 (“There is little

24
     18
25        See also Appendix E.
     19
        While not the subject of this motion, Plaintiffs do not have the authority to bring lawsuits such as those here that
26   seek to raise matters of statewide concern. See, e.g., Endo v. Second Judicial Dist. Court, 492 P.3d 565 (Nev. 2021)
     (reversing district court’s ruling that Nevada political subdivisions had authority to bring opioid-related lawsuit and
27   remanding for determination of whether political subdivision lawsuits were limited to “local concern[s]” as
     statutorily required). McKinsey expressly preserves and does not waive this argument.
28                                                           – 31 –


                           MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                     CASE NO. 3:21-MD-02996-CRB
 1   doubt that each Defendants’ actions have precipitated this public health crisis in

 2   California . . . .”). Indeed, Plaintiffs assert claims for public nuisance and seek punitive
 3
     damages, both of which seek to serve the interests of the public. See Dep’t of Fair Employment
 4
     & Hous. v. Lucent Techs., Inc., 642 F.3d 728, 737 n.2 (9th Cir. 2011) (noting that public
 5
     nuisance is an example “of a set of interests that the State has in the well-being of its populace”)
 6
     (internal quotations and citations omitted); Gault, 627 S.E.2d at 552 (“[P]unitive damages serve
 7

 8   a public interest and are intended to protect the general public . . . .”).

 9              Thus, the pleadings confirm that Plaintiffs are not representing “purely private interests.”
10   Satsky, 7 F.3d at 1470. Rather, they are pursuing the exact same public objective as the States—
11
     remediation of the opioid epidemic throughout their states. (Compare, e.g., Cheifetz Decl., Ex.
12
     V § V.1 (State of Michigan Consent Judgment) (“The proceeds from this settlement paid to the
13
     State of Michigan [by McKinsey] must be used to remediate the harms caused to the Settling
14

15   States and their citizens by the opioid epidemic within each State . . . .”), with, e.g., Cannon

16   Township, Michigan Class Action Compl. ¶ 19, 21-cv-4971, ECF No. 1 (“Plaintiffs seek the

17   means to abate the opioid epidemic created by Defendants’ wrongful and/or unlawful
18   conduct.”).)20 Because Plaintiffs seek to represent the same public interest as the States, they are
19
     in privity with one another and Plaintiffs’ claims are barred. See, e.g., City of Martinez, 353 F.3d
20
     at 764; Dover, 891 A.2d at 531; Cnty. of Boyd, 858 F. Supp. at 973; Boothbay, 201 F.3d 429.
21
                                 c)    A Finding of Privity Is Particularly Warranted Here Because
22
                                       Public Policy Strongly Favors State Control and Resolution of
23                                     Matters of Statewide Public Concern

24              A finding of privity is particularly warranted where, as here, “the case at hand also

25   presents strong policy considerations favoring the application of res judicata, i.e., the need for
26

27   20
          See also Appendix F.
28                                                     – 32 –


                           MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                     CASE NO. 3:21-MD-02996-CRB
 1   finality in the resolution of legal disputes, consistency in results, the avoidance of vexatious

 2   litigation and judicial economy in an overburdened court system.” Slocum on Behalf of Nathan
 3
     A v. Joseph B, 588 N.Y.S.2d 930, 932 (N.Y. App. Div. 1992) (noting that “[c]ourts should be
 4
     particularly inclined to bind the nonparty to the former litigation” in such circumstances). The
 5
     need for finality, consistency and judicial economy is particularly strong here because Plaintiffs’
 6
     lawsuits undermine the internal allocation of state power and the authority of attorneys general in
 7

 8   two critical ways.

 9           First, Plaintiffs’ duplicative lawsuits undermine the States’ common law, constitutional
10   and statutory authority to control and settle lawsuits alleging statewide harm. Without some
11
     assurance of global resolution, defendants have been and will be forced to simultaneously litigate
12
     claims they may have otherwise settled against both a state and all of a state’s political
13
     subdivisions and school districts. See Thornton v. State Farm Mut. Auto Ins. Co., No. 06 Civ.
14

15   00018, 2006 WL 3359482 at *3 (N.D. Ohio Nov. 17, 2006) (“[I]f courts consistently allow

16   parallel or subsequent class actions in spite of state action, the state’s ability to obtain the best

17   settlement for its residents may be impacted, since the accused may not wish to settle with the
18   state only to have the state settlement operate as a floor on liability or otherwise be used against
19
     it.”). Second, duplicative local government suits undermine the State’s ability to mount a
20
     coordinated response to public health issues and to allocate settlement funds based upon the
21
     needs of the entire state instead of the parochial interests of local governments. See State of
22

23   Illinois v. Associated Milk Producers, 351 F. Supp. 436, 440 (N.D. Ill. 1972) (“Justice and

24   judicial economy is best served by having the largest governmental unit sue on behalf of all its

25   parts rather than having multiple suits brought by various political subdivisions within the
26
     State.”)
27

28                                                    – 33 –


                       MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                 CASE NO. 3:21-MD-02996-CRB
 1              Moreover, while not legally required to find privity, recently enacted and proposed

 2   legislation as well as announcements by state attorneys general confirm that the States are taking
 3
     measures to ensure that funds obtained in their opioid settlements are used to remediate the
 4
     opioid crisis throughout each of their states to the benefit of Plaintiffs, their communities and
 5
     their residents. See, e.g., Okla. Stat. Ann. tit. 74, §§ 30.3 – 30.8 (creating the “Oklahoma Opioid
 6
     Abatement Fund” consisting of “all opioid funds obtained through a settlement or judgment by
 7

 8   the Attorney General on behalf of the State of Oklahoma related to opioid litigation” and noting

 9   that “[i]t is the intent of the Legislature, through enactment of the Political Subdivisions Opioid
10   Abatement Grants Act, to promote and protect the health of Oklahomans by using monetary
11
     grants to abate the opioid crisis in a comprehensive manner that includes cooperation and
12
     collaboration with political subdivisions”) (emphasis added).21
13
                Mere dissatisfaction with the amount of compensation or nature of the benefit secured by
14

15   the States in connection with this effort neither defeats privity nor warrants virtually endless

16   litigation that undermines the power of the State to control lawsuits resolving issues of statewide

17   public health. See, e.g., United States v. Hooker Chems. & Plastics Corp., 749 F.2d 968, 987 (2d
18   Cir. 1984) (“The mere existence of disagreement over some aspects of the remediation necessary
19
     to abate the hazard does not demonstrate a lack of capacity on the part of the government as
20
     parens patriae to represent its constituents fairly and faithfully.”); Dover, 891 A.2d at 531
21
     (“While the compensation sought [by the State] may not be the same as that which the cities
22

23   would desire, a difference of that nature does not demonstrate an interest that is not properly

24   represented by the State.”); Ewald’s Ex’r v. Louisville, 232 S.W. 388, 391 (Ky. 1921) (“[I]t is

25   sufficient to say that the doctrine of res judicata does not depend on the amount due, the
26

27
     21
          See also Appendix G.
28                                                    – 34 –


                           MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                     CASE NO. 3:21-MD-02996-CRB
 1   amount sued for, or the amount recovered, but rests entirely on the principle that parties and

 2   privies ought not to be permitted to litigate the same issue more than once.”) (emphasis added).
 3
              Not only do Plaintiffs’ claims meet the legal requirements for privity, but such a finding
 4
     is particularly appropriate here given the importance of protecting the States’ authority to control
 5
     statewide litigation. If Plaintiffs are dissatisfied with McKinsey’s $642 million settlement, they
 6
     can address that with their own state governments, not through limitless, duplicative litigation.
 7

 8                     4.        California, Georgia, Mississippi, New Mexico, Ohio and Tennessee
                                 Plaintiffs’ Public Nuisance Claims, as well as Alabama, California and
 9                               Illinois Plaintiffs’ Consumer Protection Claims, Must Be Brought on
                                 Behalf of the State and Are Therefore Barred by Res Judicata for this
10                               Additional Reason
11
              As detailed above, all Plaintiffs are in privity with their respective States and their claims
12
     are therefore barred by the doctrine of res judicata. See supra Part III.B.3. Additionally, in
13
     California, Georgia, Mississippi, New Mexico, Ohio, and Tennessee, public nuisance claims
14
     must be brought in the name of the “state” or the “people of the state.” See Cal. Code Civ. Proc.
15

16   § 731 (“A civil action may be brought in the name of the people of the State of California to

17   abate a public nuisance . . . .”) (emphasis added).22 Accordingly, these claims have been brought
18   on behalf of the same party in both the Plaintiffs’ and the States’ actions. (See Cheifetz Decl.,
19

20

21
     22
        See also Cal. Bus. & Prof. Code § 17536 (providing that civil actions under FAL are to be “brought in the name
22   of the people of the State of California by the Attorney General or by any district attorney, county counsel, or city
     attorney”) (emphasis added); Miss. Code Ann. § 93-3-5 (“Whenever a nuisance exists, the attorney-general of the
23   state, the district attorney of the district, the county attorney, or any person who is a citizen of the county, may bring
     an action in equity in the name of the State of Mississippi . . . .”) (emphasis added); N.M. Stat. Ann. § 30-8-8 (“A
24   civil action to abate a public nuisance may be brought, by verified complaint in the name of the state without cost,
     by any public officer or private citizen, in the district court of the county where the public nuisance exists, against
25   any person, corporation or association of persons who shall create, perform or maintain a public nuisance.”)
     (emphasis added); Ohio Rev. Code Ann. § 3767.03 (permitting local governments to “bring an action in equity in
     the name of the state” “[w]henever a nuisance exists”) (emphasis added); Tenn. Code Ann. § 29-3-103 (providing
26   that counties may sue to abate a public nuisance “in the name of the state”) (emphasis added); Thrasher v. Atlanta,
     173 S.E. 817, 820 (Ga. 1934) (“Generally, a public nuisance gives no right of action to any individual, but must be
27   abated by a process instituted in the name of the State.”) (emphasis added).
28                                                             – 35 –


                            MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                      CASE NO. 3:21-MD-02996-CRB
 1   Exs. C, G, W, AA, EE & KK (asserting claims, respectively, on behalf of the People of the State

 2   of California and the States of Georgia, Mississippi, New Mexico, Ohio, and Tennessee).)
 3
              Similarly, with respect to their state consumer protection statute claims,23 Plaintiffs from
 4
     Alabama, California and Illinois (all local governments or prosecutors) are statutorily required to
 5
     sue in the name of the state or the people of the state. See Cal. Bus. & Prof. Code § 17204
 6
     (“Actions for relief pursuant to [the UCL] shall be prosecuted . . . in the name of the people of
 7

 8   the State of California . . . .”); see also California v. Check ’N Go of California, Inc., No. C 07-

 9   02789, 2007 WL 2406888, at *5 (N.D. Cal. Aug. 20, 2007) (“[W]hen the district attorney filed
10   an action pursuant to those provisions of the California Business and Professions [Code] in the
11
     name of the People of the State of California, the State was the proper plaintiff, and the real party
12
     in interest . . . .”).24
13
              Accordingly, all of these claims are precluded because they are asserted in the name of
14

15   the same party that asserted, or could have asserted them, in the States’ lawsuits. See, e.g.,

16   Boeken, 230 P.3d at 344 (“The doctrine of res judicata prohibits a second suit between the same

17   parties on the same cause of action.”).
18

19

20

21   23
       The Subdivision MCC omits many of Plaintiffs’ statutory consumer protection claims. See Subdivision MCC
     ¶¶ 544-914. However, the Subdivision MCC purportedly does not “supersede the complaints filed in the individual
22   actions” and incorporates prior allegations by reference. Id. at 1. Accordingly, as noted above, this motion is
     directed at both the MCCs and individual complaints.
23
     24
       See also Ala. Code § 8-19-8 (“Whenever the office of the Attorney General or the office of the district attorney
24   has reason to believe that any person is engaging in, has engaged in or is about to engage in any act or practice
     declared to be unlawful by this chapter, the Attorney General or the district attorney may bring an action in the
25   name of the state . . . .”) (emphasis added); Cal. Bus. & Prof. Code § 17536 (providing that civil actions under the
     False Advertising Law are to be “brought in the name of the people of the State of California by the Attorney
26   General or by any district attorney, county counsel, or city attorney”) (emphasis added); 815 Ill. Comp. Stat. 505/7
     (“Whenever the Attorney General or a State’s Attorney has reason to believe that any person is using, has used, or is
27   about to use any method, act or practice declared by this Act to be unlawful, and that proceedings would be in the
     public interest, he or she may bring an action in the name of the People of the State . . . .”) (emphasis added).
28                                                          – 36 –


                          MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                    CASE NO. 3:21-MD-02996-CRB
 1          C.      Plaintiffs’ Claims Are Also Barred by the Releases in The Consent
                    Judgments
 2
            Plaintiffs’ claims should be dismissed for a second, independent reason—they fall
 3

 4   squarely within the scope of the Consent Judgments’ release provisions and the attorneys general

 5   had the authority to release claims of their States’ political subdivisions.

 6                  1.       Plaintiffs’ Claims Fall Squarely Within the Scope of the Releases
 7          The attorneys general broadly released, “without limitation,” all “claims that were or
 8
     could have been brought by a Settling State under its State’s consumer protection and unfair
 9
     trade practices law, RICO laws, false claims laws and claims for public nuisance, together with
10
     any related common law and equitable claims for damages or other relief.” (E.g., Cheifetz Decl.,
11

12   Ex. D ¶ 17 (emphasis added).) Thus, the attorneys general chose to release the claims of the

13   entire “Settling State” that could have been brought by the “Settling State” (even if they were

14   not). Moreover, “Settling State” necessarily includes claims brought by a “Settling State’s”
15   constituents. See, e.g., Curtis v. Altria Grp., Inc., 813 N.W.2d 891, 902 (Minn. 2012) (holding
16
     that release of defendant by Minnesota Attorney General “from any and all manner of civil
17
     claims . . . that the State of Minnesota” had or will have, “whether directly, indirectly,
18
     representatively, derivatively or in any other capacity,” also released duplicative claims brought
19

20   by individual state citizens alleging the same conduct and harm) (emphasis added). Indeed, as

21   administrative arms of the State responsible for carrying out State functions, Plaintiffs are not

22   only citizens of, but are inherently coextensive with, each “Settling State”:
23
                    [Municipal corporations] are involuntary political or civil divisions
24                  of the state created by authority of law to aid in the administration
                    of government. . . . They are organized, mainly, for the interest,
25                  advantage and convenience of the people residing within their
                    territorial boundaries and the better to enable the government, the
26                  sovereign, to extend to them the protection to which they are
                    entitled, and the more easily and beneficently to exercise over
27
                    them its authority. The powers which they exercise in their public
28                                                   – 37 –


                         MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                   CASE NO. 3:21-MD-02996-CRB
 1                       capacity are powers of the state, and the duties with which they
                         are charged are duties of the state.
 2
     City of Sapulpa v. Land, 223 P. 640, 646 (Okla. 1924) (quoting Abbot on Municipal
 3

 4   Corporations, vol. 1, § 22) (emphasis added).25 Accordingly, Plaintiffs fall within the definition

 5   of “Settling State.”

 6              Other provisions of the Consent Judgments confirm the same. First, the States only
 7   excluded from the release: (1) claims under “state or federal antitrust” laws, “state tax laws,”
 8
     “state security laws,” or claims to enforce the consent judgment; and (2) claims that individual
 9
     consumers may have. (E.g., Cheifetz Decl., Ex. D ¶ 18.) Conspicuously absent from these
10
     express exclusions are claims brought by political subdivisions, confirming that the States did
11

12   not intend to exclude such claims. See White v. W. Title Ins. Co., 710 P.2d 309, 314 n.4 (Cal.

13   1985) (“Under the familiar maxim of expressio unius est exclusio alterius it is well settled that,
14   when a statute expresses certain exceptions to a general rule, other exceptions are necessarily
15
     excluded. This canon, based on common patterns of usage and drafting, is equally applicable to
16
     the construction of contracts.”) (internal quotations and citations excluded).
17
                Second, in contrast to all other States, Washington and West Virginia expressly retained
18
     the right in their Consent Judgments to (and ultimately did) take the position that any claims by
19

20   their political subdivisions were not released. (See Cheifetz Decl., Ex. TT § VII.B.4; id. Ex. UU

21   § VII.A.) No other State took this position in their Consent Judgment, further demonstrating that
22   the releases as drafted were intended to encompass the claims of political subdivisions. (See id.,
23
     Exs. B, D, F, H, J, L, N, P, R, T, V, X, Z, BB, DD, FF, HH, JJ, LL, NN, PP, RR & SS.)
24
                Third, the States negotiated the injunctive relief in such a way as to directly benefit their
25
     political subdivisions. (See, e.g., Cheifetz Decl., Ex. D § III.F (requiring McKinsey to revise its
26

27
     25
          See, e.g., Appendix H.
28                                                      – 38 –


                            MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                      CASE NO. 3:21-MD-02996-CRB
 1   client conflict policy “pertaining to potential engagements by any Settling State, county

 2   government, or municipal government”) (emphasis added).) Fourth, the States have taken
 3
     affirmative steps to ensure that Plaintiffs and their residents benefit from the States’ opioid
 4
     settlements generally. See supra Part III.B.3.c & Appendix G. Accordingly, the text and
 5
     structure of the Consent Judgments leave no doubt that the attorneys general “acted to bind the
 6
     state as a whole in a matter clearly of state interest,” including the States’ political subdivisions,
 7

 8   thereby releasing Plaintiffs’ claims. In re Certified Question, 638 N.W.2d 409, 415 (Mich.

 9   2002).
10            Moreover, the scope of claims released by the States squarely covers the claims asserted
11
     by Plaintiffs. (Compare, e.g., Cheifetz Decl., Ex. D ¶ 17 (State of California releasing, “without
12
     limitation,” claims under the “State’s consumer protection and unfair trade practices law, RICO
13
     laws,” “claims for public nuisance” as well as various “common law and equitable claims for
14

15   damages or other relief”), with, e.g., San Mateo County, California Compl. ¶¶ 130-191, 21-cv-

16   6009, ECF No. 1 (asserting claims for violation of unfair competition law, false advertising law,

17   public nuisance, fraud and negligence), and, e.g., Calloway County, Kentucky Compl. ¶¶ 165-
18   249, 21-cv-4969, ECF No. 1 (asserting claims for RICO, public nuisance, negligence and unjust
19
     enrichment).) The conduct underlying Plaintiffs’ factual allegations also falls squarely within
20
     the definition of “Covered Conduct” in the Release. (Compare, e.g., Cheifetz Decl. Ex. D § II.A
21
     (defining “Covered Conduct” to include any act related to “the discovery, development,
22

23   manufacture, marketing, promotion, advertising, recall, withdrawal, distribution, monitoring,

24   supply, sale, prescribing, reimbursement, use, regulation, or abuse of any opioid” and “the

25   spoliation of any materials”), with supra Part III.B.2 (summarizing Plaintiffs’ factual allegations
26
     arising from McKinsey’s work related to the sale and marketing of prescription opioids).)
27

28                                                    – 39 –


                       MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                 CASE NO. 3:21-MD-02996-CRB
 1           Accordingly, Plaintiffs’ claims fall well within the scope of the release provisions in the

 2   Consent Judgments and therefore are barred.
 3
                    2.       The Releases Are Enforceable Against Plaintiffs Because State
 4                           Attorneys General Have Authority to Settle and Release Claims of
                             Political Subdivisions
 5
             As the chief law enforcement officers of the States, attorneys general enjoy the
 6
     “exclusive constitutional power and prerogative to conduct the state’s legal affairs.” Lyons v.
 7

 8   Ryan, 780 N.E.2d 1098, 1105 (Ill. 2002). Most attorneys general retain common law powers,

 9   including the broad discretion to bring and control any lawsuit necessary to protect the public

10   interest:
11
                    The most far-reaching of the attorney general’s common-law
12                  powers is the authority to control litigation involving state and
                    public interests . . . . As the state’s chief legal officer, the attorney-
13                  general has power, both under common law and by statute, to
                    make any disposition of the state’s litigation that he deems for its
14                  best interest. He may abandon, discontinue, dismiss or
                    compromise it. Most courts have given the attorney general a
15
                    broad discretion . . . in determining what matters may, or may not,
16                  be of interest to the people generally.

17   Ex parte King, 59 So.3d 21, 27 n.4 (Ala. 2010) (internal quotations and citations omitted). Even

18   jurisdictions that have not expressly retained an attorney general’s common law powers grant the
19   same broad discretion by way of constitutional or statutory law. See, e.g., La. Rev. Stat.
20
     § 49:257(D) (“[T]he attorney general shall have authority to determine the purposes of the state,
21
     the department, or the state agency, as the case may be, to be served by the litigation . . . .”); see
22
     also 7 Am. Jur. 2d Attorney General § 5 (“[T]he statutes in the various jurisdictions are, as a
23

24   rule, more or less declaratory of the common law.”). Accordingly, courts have repeatedly held

25   that, pursuant to this authority, state attorneys general have the power to bind political

26   subdivisions in matters of state interest without their affirmative consent. See, e.g., Biltmore,
27
     640 F.2d at 495 (“At common law, an attorney general, in the absence of some restriction on his
28                                                    – 40 –


                         MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                   CASE NO. 3:21-MD-02996-CRB
 1   [or her] powers by statute or constitution, has complete authority as the representative of the

 2   State or any of its political subdivisions to recover damages (whether under state or federal law)
 3
     alleged to have been sustained by any such agency or political subdivision, even though those
 4
     subdivisions may not have affirmatively authorized suit.”) (internal quotations and citations
 5
     omitted).
 6
            For example, in In re Certified Question, the Michigan Supreme Court held that the
 7

 8   Michigan Attorney General’s settlement with various tobacco manufacturers of claims brought

 9   on behalf of the State to recover the cost of healthcare provided to smokers released similar
10   claims later brought by a Michigan county. See 638 N.W.2d 409 (Mich. 2002). The court
11
     compared the relative powers of counties to those of the attorney general. Michigan counties had
12
     the power to sue and be sued and the Michigan Constitution instructed that all provisions
13
     governing county power should be “liberally construed in their favor.” Id. at 413. The attorney
14

15   general, on the other hand, had “broad statutory authority to bring actions that are in the interest

16   of the state of Michigan” and to litigate “on behalf of the people of the state.” Id. at 413-14. The

17   court reasoned that this power must include the authority “to represent the people of a county
18   who are a part of these same people,” and necessarily required the power to settle and release
19
     claims of a “subordinate” county where “the Attorney General acted to bind the state as a whole
20
     in a matter clearly of state interest.” See id. at 413-15. As a result, the county’s claims were
21
     barred: “[W]hile counties have broad authority to sue and settle with regard to matters of local
22

23   interest, the Attorney General has broad authority to sue and settle with regard to matters of state

24   interest, including the power to settle such litigation with binding effect on Michigan’s political

25   subdivisions.” Id. at 414.
26

27

28                                                   – 41 –


                       MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                 CASE NO. 3:21-MD-02996-CRB
 1          Similarly, in People ex rel. Devine v. Time Consumer Marketing, Inc., the Cook County

 2   State’s Attorney filed suit against Time Consumer Marketing (“Time”) alleging violations of the
 3
     Illinois Consumer Fraud Act in connection with sweepstakes mailings Time sent to county
 4
     residents and seeking injunctive relief, restitution and civil penalties. See 782 N.E.2d 761, 762
 5
     (Ill. Ct. App. 2002). Around the same time, as part of a multistate investigation and settlement,
 6
     the Illinois Attorney General, on behalf of the State, entered into a settlement with Time in which
 7

 8   Time agreed to injunctive relief and restitution in exchange for a release of all claims which were

 9   or could have been asserted in connection with the mailings. Id. The trial court granted Time’s
10   motion to dismiss the Cook County State’s Attorney’s lawsuit on the basis that the claims were
11
     released by the Attorney General settlement. See id. at 762-63. On appeal, the court rejected the
12
     Cook County State’s Attorney’s argument that the Attorney General lacked authority to release
13
     the County’s claims because the Consumer Fraud Act gave each office concurrent enforcement
14

15   authority. See id. at 766-67. The court reasoned that the Attorney General’s statutory power to

16   bring and settle consumer fraud claims as well as the common law powers implicit in the

17   Attorney General’s status as the “chief legal officer of the state” necessarily included the power
18   to settle and release the Cook County State’s Attorney’s claims. See id. at 766-68; see also Ex
19
     parte King, 59 So.3d at 27 n.4 (holding that Alabama Attorney General had authority to dismiss
20
     lawsuit over objection of district attorney and noting that “[i]in addition to having authority to
21
     initiate and manage an action, the attorney general may elect not to pursue a claim or to
22

23   compromise or settle a suit when he [or she] determines that continued litigation would be

24   adverse to the public interest”); State of Florida ex rel. Shevin v. Exxon Corp., 526 F.2d 266 (5th

25   Cir. 1976) (holding that Florida Attorney General retained common law powers conferring the
26
     right to bind Florida political subdivisions without their authorization).
27

28                                                   – 42 –


                       MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                 CASE NO. 3:21-MD-02996-CRB
 1              Similarly here, the attorney general is the chief legal officer in each Subject State26 and

 2   nearly all retain broad common law authority to represent the interests of the State in matters of
 3
     statewide interest. See, e.g., State ex rel. Inman v. Brock, 622 S.W.2d 36, 41 (Tenn. 1981) (“‘A
 4
     broad discretion is vested in [the Attorney General] in determining what matters may, or may
 5
     not, be of interest to the people generally. We must recognize the fact that the office of Attorney
 6
     General is ancient in its origin in history, and it is generally held by the states of the Union that
 7

 8   the Attorney General has a wide range of powers at common law.’”) (quoting Mundy v.

 9   McDonald, 185 N.W. 877, 880 (Mich. 1921)).27 In the few states that have not expressly
10   retained the attorney general’s common law powers, the attorneys general nonetheless enjoy
11
     similarly broad constitutional and statutory authority to sue on behalf of the State and control
12
     litigation in matters of statewide interest. See, e.g., Perdue v. Baker, 586 S.E.2d 606, 610 (Ga.
13
     2003) (holding that governor and attorney general have concurrent constitutional and statutory
14

15   authority to “decide what is in the best interest of the people of the State in every lawsuit

16   involving the State of Georgia”).28 As determined by numerous courts, this authority necessarily

17   includes (indeed, requires) the power to settle and release claims of political subdivisions. See,
18   e.g., In re Certified Question, 638 N.W.2d at 414 (“Given that the Attorney General has the
19
     authority to bring claims, it inevitably follows that the Attorney General has the authority to
20
     settle and release such claims . . . including the power to settle such litigation with binding effect
21
     on Michigan’s political subdivisions.”); State ex rel. Derryberry v. Kerr-McGee Corp., 516 P.2d
22

23   813, 818 (Okla. 1973) (“The Attorney General has authority to bring law suits . . . and to assume

24   and control the prosecution thereof in the state’s best interest. It must logically follow that he

25
     26
          See Appendix I.
26
     27
          See also Appendix J.
27   28
          See also Appendix K.
28                                                      – 43 –


                            MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                      CASE NO. 3:21-MD-02996-CRB
 1   has authority to compromise and dismiss the suit.”). Any other conclusion would allow political

 2   subdivisions to undermine the attorney general’s authority to obtain final, global resolution of
 3
     claims on behalf of the whole State.
 4
             Accordingly, the States had the authority to release Plaintiffs’ claims and did so here.
 5
     IV.     All of the Indiana Plaintiffs’ Claims Are Statutorily Barred
 6
             Separate and apart from the above-described principles, which independently bar the
 7

 8   Indiana Plaintiffs’ claims, the Indiana Legislature recently reinforced that the State of Indiana—

 9   not political subdivisions—controls opioid-related lawsuits to redress the impact of the opioid

10   epidemic to the State. Specifically, on April 29, 2021, the Indiana Legislature statutorily barred
11
     Indiana political subdivisions from pursuing opioid-related lawsuits filed after January 1, 2021:
12
     “[a]fter January 1, 2021, no political subdivision shall initiate or file opioid litigation in any
13
     court.” Ind. Code § 4-6-15-3 (2021). “Opioid litigation” is “any civil lawsuit, demand, or
14
     settlement, including any settlement in lieu of litigation, filed against any opioid party for any
15

16   cause of action filed for the purpose of redressing the impact of the opioid epidemic to the state

17   or any political subdivision.” Id. § 4-6-15-1(2). The statute defines “[o]pioid party” to include
18   “consultants.” Id. § 4-6-15-1(3). The statute further defines “political subdivision” as “counties,
19
     townships, cities, towns, and separate municipal corporations…” Id. at (4) (citing Ind. Code
20
     § 34-6-2-110).
21
             Indiana Plaintiffs Scott County, Orange County, City of Madison and City of Austin filed
22

23   their actions between March 29, 2021 and April 19, 2021. See Scott County, Indiana Class

24   Action Compl., 21-cv-6237, ECF No. 1; Orange County, Indiana Class Action Compl., 21-cv-

25   5344, ECF No. 1; City of Madison, Indiana Class Action Compl., 21-cv-5402, ECF No. 1; City
26   of Austin, Indiana Class Action Compl., 21-cv-5403, ECF No. 1. Each seeks remediation to
27

28                                                    – 44 –


                       MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                 CASE NO. 3:21-MD-02996-CRB
 1   address the impact of the opioid epidemic. See id. Accordingly, their lawsuits are statutorily

 2   barred and should therefore be dismissed for this additional, independent reason.
 3
     V.     CONCLUSION
 4
            For the foregoing reasons, McKinsey respectfully requests that the Court dismiss in their
 5
     entirety the claims of Plaintiffs in the Subject States.
 6

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                       MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
                                                                 CASE NO. 3:21-MD-02996-CRB
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28                           – 46 –


     MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF MOTION TO DISMISS,
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